     Case 3:25-cv-04870-CRB       Document 8-1          Filed 06/10/25    Page 1 of 129



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11

12                          IN THE UNITED STATES DISTRICT COURT

13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

14

15

16
     GAVIN NEWSOM, IN HIS OFFICIAL
17   CAPACITY AS GOVERNOR OF THE STATE OF
     CALIFORNIA; STATE OF CALIFORNIA,                   NO. 3:25-cv-04870-CRB
18
                                         Plaintiffs, DECLARATION OF NICHOLAS
19                                                   ESPIRITU IN SUPPORT OF
                   v.                                PLAINTIFFS’ EX PARTE MOTION FOR
20                                                   A TEMPORARY RESTRAINING
                                                     ORDER
21   DONALD TRUMP, IN HIS OFFICIAL
     CAPACITY AS PRESIDENT OF THE UNITED                Judge:        Hon. Charles R. Breyer
22   STATES; PETE HEGSETH, IN HIS OFFICIAL              Trial Date: None Set
     CAPACITY AS SECRETARY OF THE                       Action Filed: June 9, 2025
23   DEPARTMENT OF DEFENSE; U.S.
     DEPARTMENT OF DEFENSE,
24
                                      Defendants.
25

26

27

28
                                                    1
                  ESPIRITU DEC. ISO. PLTF’S EX PARTE MTN FOR A TEMPORARY RESTRAINING ORDER
     Case 3:25-cv-04870-CRB          Document 8-1          Filed 06/10/25    Page 2 of 129



 1         I, Nicholas Espíritu, declare under penalty of perjury that the following is true and correct:

 2            1.    I am an attorney licensed to practice law in the State of California, admitted to the

 3   bar of this Court, and a Deputy Attorney General in the Office of the Attorney General, California

 4   Department of Justice. The Attorney General is counsel to Plaintiffs Governor Gavin Newsom

 5   and the State of California. I make this declaration in support of Plaintiffs’ motion for a

 6   temporary restraining order.

 7            2.    I am over the age of 18 and have personal knowledge of all the facts stated herein,

 8   except to those matters stated upon information and belief; as to those matters, I believe them to

 9   be true. If called as a witness, I could and would testify competently to the matters set forth

10   below.

11            3.    Attached hereto as Exhibit A is a true and correct copy of the Service Employees

12   International Union’s (“SEIU”) June 9, 2025 Press Release following the release of David Huerta,

13   entitled STATEMENT: SEIU President April Verrett on David Huerta’s Release from Federal

14   Custody and available on SEIU’s official website at https://www.seiu.org/2025/06/statement-seiu-

15   president-april-verrett-on-david-huertas-release-from-federal-custody.

16            4.    Attached hereto as Exhibit B is a true and correct copy of is a true and correct

17   copy of U.S. Immigration and Customs Enforcement’s (“ICE”) Enforcement and Removal

18   Operation Statistics, available on ICE’s official website at https://www.ice.gov/statistics, last

19   accessed on June 10, 2025.

20            5.    Attached hereto as Exhibit C is a true and correct copy of an October 2, 2024

21   article written by Joseph Nunn and published by the Brennan Center for Justice, entitled Limiting

22   the Military’s Role in Law Enforcement, and available on the Brennan Center for Justice’s official

23   website at https://www.brennancenter.org/our-work/policy-solutions/limiting-militarys-role-law-

24   enforcement.

25            6.    Attached hereto as Exhibit D is a true and correct copy of a June 6, 2025 article

26   published by ABC 7 News Los Angeles, entitled Crowds clash with federal agents after dozens

27   detained in ICE raids across LA, and available on ABC 7 News’s official website at

28
                                                       2
                    ESPIRITU DEC. ISO. PLTF’S EX PARTE MTN FOR A TEMPORARY RESTRAINING ORDER
     Case 3:25-cv-04870-CRB         Document 8-1          Filed 06/10/25   Page 3 of 129



 1   https://abc7.com/post/multiple-people-detained-ice-homeland-security-agents-conduct-2-

 2   separate-investigations-la/16678559/.

 3          7.      Attached hereto as Exhibit E is a true and correct copy of the June 7, 2025

 4   Memorandum from President Trump to the Secretary of Defense, Attorney General, and

 5   Secretary of Homeland Security, regarding “Department of Defense Security for the Protection of

 6   Department of Homeland Security Functions.”

 7          8.      Attached hereto as Exhibit F is a true and correct copy of a June 7, 2025 article

 8   written by Damian Dovarganes and Olga R. Rodriguez and published by the Associated Press,

 9   entitled Federal authorities arrest dozens for immigration violations across Los Angeles, and

10   available on the Associated Press’s official website at https://apnews.com/article/immigration-

11   raids-los-angeles-f8c4160e32be0ff77c5d4bf0ccef98cc.

12          9.      Attached hereto as Exhibit G is a true and correct copy of a June 7, 2025 article

13   published by Al Jazeera, entitled ICE launches ‘military-style’ raids in Los Angeles: What we

14   know, and available on Al Jazeera’s official website at

15   https://www.aljazeera.com/news/2025/6/7/ice-launches-military-style-raids-in-los-angeles-what-

16   we-know.

17          10.     Attached hereto as Exhibit H is a true and correct copy of a June 7, 2025 article

18   written by Melanie Mason and published by Politico, entitled Newsom blasts deployment of

19   National Guard to LA as ‘purposefully inflammatory’, and available on Politico’s official website

20   at https://www.politico.com/news/2025/06/07/newsom-national-guard-los-angeles-00393526.

21          11.     Attached hereto as Exhibit I is a true and correct copy of a June 6, 2025 article

22   published by Fox 11 Los Angeles News, entitled LA immigrant families reportedly detained by

23   ICE at routine check-ins sparks human rights concerns, and available on Fox 11 News’s official

24   website at https://www.foxla.com/news/ice-la-immigration-routine-check-ins-human-rights-

25   concerns.

26          12.     Attached hereto as Exhibit J is a true and correct copy of a June 8, 2025 Press

27   Release from U.S. Northern Command (USNORTHCOM), entitled USNORTHCOM statement

28   regarding protection of federal property and personnel in the Los Angeles Area, and available on
                                                      3
                   ESPIRITU DEC. ISO. PLTF’S EX PARTE MTN FOR A TEMPORARY RESTRAINING ORDER
     Case 3:25-cv-04870-CRB           Document 8-1         Filed 06/10/25    Page 4 of 129



 1   USNORTHCOM’s official website at https://www.northcom.mil/Newsroom/Press-

 2   Releases/Article/4209228/usnorthcom-statement-regarding-protection-of-federal-property-and-

 3   personnel-in/.

 4          13.       Attached hereto as Exhibit K is a true and correct copy of a June 8, 2025 letter

 5   sent from the California Office of the Governor to Secretary of Defense Pete Hegseth, regarding

 6   Federalization of the California National Guard, via e-mail delivery.

 7          14.       Attached hereto as Exhibit L is a true and correct copy of a June 7, 2025 post on

 8   the social media website X by Mayor of Los Angeles Karen Bass, available on X’s website at

 9   https://x.com/MayorOfLA/status/1931518214414172656?.

10          15.       Attached hereto as Exhibit M is a true and correct copy of a June 8, 2025 article

11   written by Tyler Pager and published by the New York Times, entitled Trump Jumps at the

12   Chance for a Confrontation in California Over Immigration, and available on the New York

13   Times’s official website at https://www.nytimes.com/2025/06/08/us/politics/trump-california-

14   immigration.html.

15          16.       Attached hereto as Exhibit N is a true and correct copy of ongoing news coverage

16   last updated on June 9, 2025 at 10:33 p.m. PT and published by NBC News, entitled 700 Marines

17   will deploy as immigration protests continue, and available on NBC News’s official website at

18   https://www.politico.com/news/2025/06/07/newsom-national-guard-los-angeles-00393526

19          17.       Attached hereto as Exhibit O is a true and correct copy of the June 7, 2025

20   Memorandum for Adjutant General of the California National Guard Through: The Governor of

21   California, with the subject line “Calling Members of the California National Guard into Federal

22   Service.”

23          18.       Attached hereto as Exhibit P is a true and correct copy of a June 9, 2025

24   Memorandum for Adjutant General of the California National Guard Through: The Governor of

25   California, with the subject line “Calling Additional Members of the California National Guard

26   into Federal Service.”

27          19.       Attached hereto as Exhibit Q is a true and correct copy of a June 7, 2025 press

28   release from California Governor Gavin Newsom, entitled Governor Gavin Newsom on speaking
                                                       4
                      ESPIRITU DEC. ISO. PLTF’S EX PARTE MTN FOR A TEMPORARY RESTRAINING ORDER
     Case 3:25-cv-04870-CRB          Document 8-1          Filed 06/10/25      Page 5 of 129



 1   out peacefully, and available on the Governor’s official website at

 2   https://www.gov.ca.gov/2025/06/07/governor-gavin-newsom-on-speaking-out-peacefully/.

 3           20.    Attached hereto as Exhibit R is a true and correct copy of a June 9, 2025 article

 4   written by Austin Turner, Dean Fioresi, and Camilo Montoya-Galvez and published by CBS

 5   KCAL News, entitled Los Angeles immigration enforcement operations set to continue after

 6   weekend of protests, National Guard deployment, and available on CBS News’s official website

 7   at https://www.cbsnews.com/losangeles/news/national-guard-troops-los-angeles-immigration-

 8   protests/.

 9           21.    Attached hereto as Exhibit S is a true and correct copy of a June 10, 2025 letter

10   sent from the California Office of the Governor to Secretary of Defense Pete Hegseth, regarding

11   Federalization of the California National Guard, via e-mail delivery.

12           22.    Pursuant to N.D. Cal. L.R. 65-1 and Fed. R. Civ. P. 65, counsel from my office

13   emailed notice of the instant application to counsel for the Defendants, the United States

14   Department of Justice at Garry.Hartlieb2@usdoj.gov; Eric.Hamilton@usdoj.gov;

15   Alex.Haas@usdoj.gov; Christopher.Edelman@usdoj.gov; and Ben.Kurland@usdoj.gov. The

16   United States Department of Justice stated to our office “Defendants oppose any ex parte

17   proceedings in this matter and request no less than 24 hours from the time that Plaintiffs file their

18   motion for a temporary restraining order to file a response brief. Should the Court desire to rule

19   on the temporary restraining order in the absence of Defendants’ written response, Defendants

20   seek to be heard at a hearing and are available at any time.”

21

22         I declare under penalty of perjury under the laws of the United States that the foregoing is

23   true and correct.

24   Executed on June 10, 2025, at Oakland, California.

25                                                         /s/ Nicholas Espíritu

26                                                         Nicholas Espíritu
27

28
                                                       5
                    ESPIRITU DEC. ISO. PLTF’S EX PARTE MTN FOR A TEMPORARY RESTRAINING ORDER
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 6 of 129




                           EXHIBIT I
              Case 3:25-cv-04870-CRB      Document 8-1       Filed 06/10/25   Page 7 of 129

                                                                                      Watch Live




LA immigrant families reportedly detained by ICE a
routine check-ins sparks human rights concerns
By FOX 11 Digital Team | Published June 6, 2025 8:48am PDT | Immigration | FOX 11 |




  LA ICE raids conducted at multiple locations; community speaks out
  Several protests were held Friday in response to immigration raids at various
  locations in Los Angeles.


  The Brief
     Immigrant families, including children, are reportedly being detained by ICE at the Los
     Angeles federal building during routine check-ins.

     Advocates and a U.S. Representative describe conditions as inhumane, with
     overcrowding, lack of food and water, and families held overnight.

     No official statement from ICE or DHS on these specific detentions is currently availabl
     but investigations are being demanded.
       Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 8 of 129
LOS ANGELES - Alarming reports from the Edward R. Roybal Federal Building i
downtown Los Angeles indicate that immigrant families, including asylum seeke
and children, are being detained by Immigration and Customs Enforcement (IC
during what were previously considered routine check-ins.

This concerning shift in practice has sparked immediate human rights concerns
and demands for an investigation from prominent officials and advocacy group
who describe conditions for those held as inhumane.


Inhumane conditions reported at federal building
What we know: Immigrants, many asylum seekers with children, were reported
                detained by ICE after arriving for scheduled check-ins at the
                Roybal Federal Building. Eyewitness accounts and attorney
reports detail overcrowded conditions, with individuals held in the building's
basement, conference rooms, and even outdoor tents due to lack of space.
People are being processed and moved to facilities out of state that have room
as there is none left in the local facilities.

Detainees have reportedly been deprived of food and water for 12 to 24 hours
more, with some families, including young children, forced to endure these
conditions overnight. Additionally, lights in the building reportedly shut off at 5
p.m., leaving families in complete darkness.

One attorney reported a client was being held without food or water from 2 p.m
until the next day, while his wife and two children waited over 12 hours. There a
also reports of a 20-year-old woman being held alone, separated from her
mother, despite having legally checked in with ICE for years and being days from
court date for an asylum process.

Attorneys inside said this began Tuesday, with more than a hundred people in
custody. Local immigration groups protesting outside the federal building and t
          Case 3:25-cv-04870-CRB         Document 8-1   Filed 06/10/25   Page 9 of 129
Metropolitan Holding Facility say people are being denied due process and tha
the federal building basement is not a fitting location to hold people.




LA ICE Raids: Protesters rally in downtown
Hundreds gathered in downtown LA Friday to protest immigration raids that w
being conducted throughout the city.



What they're saying: Representative Jimmy Gomez (CA-34), whose district includ
                     the Roybal Federal Building, condemned the detentions.

"These are very disturbing reports from L.A.'s Roybal Federal Building," said
Gomez. "Law-abiding asylum seekers — many with kids — are being detained
after showing up for routine ICE check-ins. No food. No water. Locked in holdin
rooms for over 12 to 24 hours. These are not criminals. These are families who
followed the rules. Filed the paperwork. Showed up on time. Instead, they're
being treated like they broke the law just for seeking asylum."
       Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 10 of 129
Gomez further added, "This isn’t ‘just how the system works.’ This is a system
breaking people. Bureaucracy weaponized against those who complied. DHS—
demand to go in to get answers. We need to know why law-abiding asylum
seekers are being detained, separated, and treated like criminals."

The League of United Latin American Citizens (LULAC) also issued a national ale
and demanded an immediate federal investigation. Roman Palomares, LULAC
National President and Chairman of the Board, stated, "This is beyond
unacceptable — it is unconscionable. The notion that our federal courthouse —
place that symbolizes the pursuit of justice — is now being used as a de facto
detention facility under ICE authority, is an affront to every value our nation is
supposed to uphold. We are demanding answers: Who is being held, who is
holding them, and under what legal justification? We must not allow the
courthouse to become a cage."

Palomares continued, "It is inconceivable that in the United States of America, a
nation that claims to value the rule of law, we are seeing such blatant disregard
for due process, civil rights, and human dignity. These are individuals whose las
hope rests with the U.S. judicial system. Instead, they are being detained in the
very place they came to for justice. This violates our own constitution and
international human rights standards."

The other side: While no specific statement from ICE or the Department of
                Homeland Security (DHS) regarding these particular allegations
                the Roybal Federal Building is currently available, ICE operates
under a broad mandate to enforce U.S. immigration laws.

According to attorneys on site, ICE claims it can detain people indefinitely even
they have a "legal stay," which is generally a temporary suspension of a
deportation order.
       Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 11 of 129
From ICE's general operational perspective, the presence of a legal stay does n
always preclude detention, as individuals may still be deemed ultimately
removable under immigration statutes or present other factors that, in ICE's vie
warrant continued custody. Enforcement actions, including arrests at check-ins
are part of ICE's stated mission to apprehend individuals violating immigration
laws.


Nationwide arrests
Big picture view: These reported detentions in LA align with a broader federal
                  effort to significantly escalate immigration arrests nationwide.
                  Internal government data shows ICE arrests during President
Donald Trump's second term have already surpassed 100,000 this week,
including over 2,000 arrests on both Tuesday and Wednesday. This marks a
dramatic increase from the daily average of approximately 660 arrests during t
first 100 days of the Trump administration.

These numbers reportedly move closer to the stated goal of top administration
officials, such as White House deputy chief of staff Stephen Miller, who has
pushed for ICE to conduct "a minimum" of 3,000 arrests each day.
         Case 3:25-cv-04870-CRB          Document 8-1   Filed 06/10/25   Page 12 of 129




ICE raid at alleged underground nightclub in LA
Agents with homeland security and ICE raided an alleged underground nightclu
in Los Angeles. HSI Los Angeles said more than 30 people with ties to China an
Taiwan were arrested in the raid.



This aggressive expansion, which includes arresting migrants and asylum-seeke
at court hearings or check-in appointments, is seen by critics as deterring
individuals from complying with the legal process and creating a dangerous
situation for immigrant communities.

What's next: LULAC is urgently calling for a full and immediate investigation by t
             Department of Justice and the Office of the Inspector General. The
             also demand an accounting from ICE and federal court officials
regarding the legal basis and circumstances of these detentions, a halt to any
deportation actions until due process is fully afforded to every individual in
custody, and oversight by members of Congress, particularly the Congressiona
Hispanic Caucus and the House and Senate Judiciary Committees.
       Case 3:25-cv-04870-CRB               Document 8-1         Filed 06/10/25         Page 13 of 129
Representative Gomez has also demanded access to the facility. As the son of
immigrants, Gomez has been a strong advocate for immigrant families, previou
filing an amicus brief urging the court to uphold the 14th amendment’s guaran
of citizenship and supporting the Dream and Promise Act of 2025.

He has also called on the IRS and DHS to halt the misuse of confidential taxpay
data for immigration enforcement and is leading efforts to reinstate the
Citizenship and Assimilation (C&A) Grant Program.


  The Source: This article's information comes directly from official statement
  and reports by Representative Jimmy Gomez and the League of United Latin
  American Citizens (LULAC). Context for the broader immigration enforcemen
  trends was sourced from a Fox News report based on internal government
  data.




 Immigration             Los Angeles               Instastories               Downtown LA


                                              f      t             y


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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 14 of 129




                            EXHIBIT A
Case 3:25-cv-04870-CRB         Document 8-1       Filed 06/10/25      Page 15 of 129




    Contact:
    SEIU National Media, media@seiu.org


  Issued June 09, 2025


  STATEMENT: SEIU President April
  Verrett on David Huerta’s Release from
  Federal Custody
  Following the release of SEIU California and SEIU-USWW President David
  Huerta from federal custody, SEIU International President April Verrett
  released the following statement.

  “David Huerta was arrested while standing up for immigrants’ rights. Today,
  a judge set him free after federal authorities attacked, injured, and unjustly
  detained him since Friday. We are relieved that David is free and reunited
  with his family and we are deeply grateful to the hundreds of elected
  officials, civil rights leaders, labor partners and allies from across the nation
  who stood in solidarity and demanded David’s release.

  “But this struggle is about much more than just one man. Thousands of
  workers remain unjustly detained and separated from their families. At this
  very moment, immigrant communities are being terrorized by heavily
  militarized armed forces. The Trump regime calling in the National Guard is a
  dangerous escalation to target people who disagree with them. It is a threat
  to our democracy. The federal government should never be used as a
  weapon against people who disagree with them.

  “SEIU will always stand up to protect the rights and dignity of hard working
  people, and the safety of workers in the workplace. Imagine what it feels
  like for thousands of workers around the country to be attacked by masked
  men with weapons, or to bear witness to their co-workers getting dragged
  away, knowing their kids may not see them again.

  “It is shameful and wrong that this administration is attempting to tear
  apart our families, communities and disrupt the lives of peaceful,
  hardworking people. It is yet another attempt to use people’s race and
Case 3:25-cv-04870-CRB       Document 8-1       Filed 06/10/25     Page 16 of 129
  country of origin to divide us as Americans. It won’t work. And these cruel
  ICE raids are economically destructive, hurting all working people by
  targeting the essential immigrant workers who are the backbone of our
  economy.

  “America is a nation of immigrants. Immigrant workers are essential to our
  society: feeding our nation, caring for our elders, cleaning our workplaces,
  and building our homes. Immigrants are scientists, they are teachers and
  professors. They are our co-workers, neighbors and family members. They
  deserve our respect and they need their constitutional rights respected.

  “We demand the release of all people unjustly detained, and an end to the
  raids. We demand that all immigration proceedings uphold the principles of
  due process, and that all detainees have access to the legal representation
  and rights promised by the constitution.”

  ###




                                      ###




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Case 3:25-cv-04870-CRB     Document 8-1      Filed 06/10/25   Page 17 of 129

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                by any candidate or candidate's committee.
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 18 of 129




                            EXHIBIT B
                                                                      Case 3:25-cv-04870-CRB                                         Document 8-1                          Filed 06/10/25                        Page 19 of 129
    An official website of the United States government                                                                                                                                                                                             En Español     Contact Us     Quick Links


                                                                                      Official websites use .gov                                                   Secure .gov websites use HTTPS
                                                                                      A .gov website belongs to an official government organization                A lock ( ) or https:// means you’ve safely connected to the
                                                                                      in the United States.                                                        .gov website. Share sensitive information only on official,
                                                                                                                                                                   secure websites.




                                                                                                                                                                                                                                          Search

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ICE




                                                                                                                 ICE Enforcement and Removal Operations Statistics




  U.S. Immigration and Customs Enforcement's Enforcement and Removal Operations (ERO) officers enforce immigration laws within the interior to preserve national security and public safety.

  ERO manages all aspects of the immigration enforcement process, including the identification, arrest, detention and removal of aliens who are subject to removal or are unlawfully present in the United States.

  Like all law enforcement agencies, ERO officers prioritize their enforcement actions based on agency and department priorities, funding and capacity. ERO operations are flexible enough to allow its officers to respond to events such as spikes in border crossings, modifications
  to U.S. laws, pandemics, and natural disasters at home and abroad.

  The following dashboards present for the first time information and trends in arrests, detentions, removals and alternatives to detention as of December 31, 2024.

  The dashboards will be updated quarterly.




  Arrest Statistics




  ERO enforces laws by arresting immigration violators in the interior of the United States. It relies on statutory law enforcement authority to identify and arrest aliens who may present threats to national security or public safety, or who otherwise undermine the integrity of U.S.
  immigration laws. ERO uses targeted, intelligence-driven operations to prioritize its enforcement actions in ways that help protect communities nationwide. While ERO primarily conducts administrative arrests of aliens it has probable cause to believe are removable from the
  United States, it also has the authority to execute criminal arrest warrants and initiate prosecutions for criminal activity, including immigration-related crimes. ERO officers assigned to task forces also help target and apprehend foreign fugitives in the United States who are
  wanted for crimes here and abroad by working with domestic and international partners.

                      Arrests by country of citizenship and criminal history: ERO arrests are broken down by country of citizenship and categories of criminal history that include people with:
                                                              Case 3:25-cv-04870-CRB                                         Document 8-1                        Filed 06/10/25                       Page 20 of 129
                 U.S. criminal convictions.
                 Pending criminal charges in the United States.
                 No convictions or pending charges but who have broken U.S. immigration laws including visa overstays and Visa Waiver Program violators.*


            *This category includes those who have repeatedly violated U.S. law by reentering after deportation, immigration fugitives with an executable final order of removal, and international fugitives wanted for crimes committed abroad.
            For fiscal years 2021 and 2022, this category also includes individuals apprehended while attempting to unlawfully enter the United States after January 1, 2021.
      ERO arrests over time: Historically, ERO most commonly arrests immigration violators with convictions involving DUI, drug possession, assault and criminal (non-civil) traffic offenses such as hit-and-run or leaving the scene of an accident.

      Arrests by Area of Responsibility (AOR): ERO has 25 field offices, which are geographic areas of responsibility, around the country, each headed by a field office director.




                                                                                                                                                ARRESTS




                                                    Date Selector                       Arrest Fiscal Year                            Arrest Month                         Area of Responsibility *           Country of Citizenship                            Criminality
                                        Year                                   (All)                                     (All)                                   (All)                                (All)                                   (All)




           Criminality                                                        Arrests by Criminality and AOR                                                                                                    Arrests Over Time
   Criminal Conviction                                       Dallas
   Pending Criminal Charges                                Houston
                                                      New Orleans                                                                                                          150,000
   Other Immigration Violator
                                                             Miami
                                                           Chicago
                                                           Newark
                                                                                                                                                                           100,000




                                                                                                                                                                 Arrests
                                                     New York City
                                                            Atlanta
                                                      San Antonio
                                                      Los Angeles                                                                                                           50,000
                                                            Boston
                                                          Harlingen
                                                                      5,000   10,000   15,000   20,000   25,000     30,000   35,000    40,000    45,000 50,000
                                                                                                                                                                                0
                                                                                                          Arrests                                                                       FY 2021           FY 2022            FY 2023                  FY 2024             FY 2025

           Color Selector
   Criminality




            Axis Selector
   Area of Responsibility




                                          Arrests                                                                                                                 Arrests

                                          10                50,972                                                                                                 10                    6,000


                                        © OpenStreetMap                                                                                                          © 2025 Mapbox © OpenStreetMap




ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter’s data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.
                                                                       Case 3:25-cv-04870-CRB                                         Document 8-1                       Filed 06/10/25                       Page 21 of 129




Detention Statistics




ERO oversees the civil immigration detention of one of the most diverse and rapidly changing detained populations in the world. The ERO Headquarters Custody Management and ICE Health Service Corps divisions help officers in the field manage the detained population and
ensure detained aliens’ health and safety, ensure compliance with ICE’s detention standards, and provide medical care — including mental health care — to detained individuals.

ICE detains individuals as necessary, including to secure their presence for immigration proceedings and removal from the United States. ICE also detains those who are subject to mandatory detention under U.S. immigration law and those a supervisor has determined are
public safety or flight risks.

After ICE arrests and processes individuals for administrative immigration violations or CBP and other state, local and federal law enforcement partners turn them over to ICE, officials may detain them while their immigration cases are pending or release them under a form of
supervision. Both ICE and the Department of Justice’s Executive Office for Immigration Review — the office that oversees the immigration court system — can impact custody status at various points during a alien's immigration proceedings.

Officials make custody determinations on an individual basis, taking into account all facets of a person’s situation, including their immigration history and criminal records. Authorities also consider family ties, humanitarian issues and whether a person may be a flight risk.

Whenever possible, ICE seeks to house detained individuals within the geographical areas of their arrests to minimize their time in ICE custody and keep them close to family, friends and legal representatives.

Most detained individuals are transfers from CBP following arrests at the border. ICE is legally obligated to detain some of these people, including those with certain criminal histories.

If an alien or their representative believes they should not be subject to enforcement, detention or removal, they should contact their local ERO field office to request a case review or initiate the ICE Case Review process. People who want to contact ICE about their cases should
first notify their local ERO field office via email with supporting documentation for an initial review.

                       Detention by country of citizenship and criminal history: Detained individuals are categorized in the following ways:

                             Individuals with criminal convictions.
                             Individuals with pending criminal charges.
                             Those with no convictions or pending charges but who have broken U.S. immigration laws.*


                             *The third category includes individuals without any known criminal convictions or pending charges who have repeatedly violated U.S. law by reentering after deportation; immigration fugitives with a final order of removal by an immigration judge; and foreign
                             fugitives wanted for crimes committed abroad.

                       Detention over time: Most detained individuals are transfers from CBP following arrests made at the border. Higher numbers of border crossings are typically associated with higher detention numbers.




                                                                                                                                                   DETENTION
                                                           Case 3:25-cv-04870-CRB                                             Document 8-1                        Filed 06/10/25                               Page 22 of 129


                                                        U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                                                                    DETENTION STATISTICS
                 Detentions                Date Selector                       Detention Fiscal Year                  Detention Month                 Area of Responsibility*                         Country of Citizenship                Criminality                 Arresting Agency
                                    Year                               (All)                                 (All)                            (All)                                           (All)                             (All)                           (All)




            Criminality                                                        Detentions by Criminality and AOR                                                                                                       Detentions Over Time
   Criminal Conviction                      Phoenix
                                                                                                                                                                                 300,000
   Other Immigration Violator          San Antonio
   Pending Criminal Charges                Harlingen
                                       New Orleans
                                            Houston
                                           San Diego                                                                                                                             200,000




                                                                                                                                                                    Detentions
                                             El Paso
                                              Dallas
                                              Miami
                                      New York City                                                                                                                              100,000
                                             Atlanta
                                             Chicago
                                                       0    20,000   40,000      60,000   80,000 100,000 120,000 140,000 160,000 180,000 200,000 220,000
                                                                                                                                                                                       0
                                                                                                         Detentions                                                                           FY 2021               FY 2022             FY 2023           FY 2024               FY 2025

            Color Selector
   Criminality
                                                                     Detentions by Area of Responsibility (AOR)                                                                                              Detentions by Country of Citizenship




             Axis Selector
   Area of Responsibility




                                           Detentions                                                                                                                            Detentions
                                                                                                                                                                                 10             31,000
                                            2,725            234,351

                                    © OpenStreetMap                                                                                                                © 2025 Mapbox © OpenStreetMap




ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter’s data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.
                                                       Case 3:25-cv-04870-CRB                                         Document 8-1                          Filed 06/10/25                        Page 23 of 129


Removals & Expulsions




ICE’s authority to remove aliens exists under the Immigration and Nationality Act pursuant to Title 8 of the U.S. Code, sometimes called “Title 8 authority.”

Between March 2020 and May 2023, the Department of Homeland Security quickly expelled irregular border crossers from the United States under a public health order the Centers for Disease Control and Prevention issued March 21, 2020, sometimes called “Title 42 authority.”

Title 8: ICE principally removes aliens from the United States after they have received a final order of removal. These removal operations require complex coordination, management and facilitation efforts to successfully remove and return aliens from the United States. ERO

accomplishes this mission through charter flights and on commercial airlines for escorted and unescorted removals, in addition to ground transportation missions on the northern and southern borders and at ports of entry.

ERO’s highest-profile removals generally comprise fugitives wanted for serious crimes in other countries, such as homicide, gang-related offenses, corruption and fraud. Often, these individuals come to ERO’s attention because of Interpol notices. Other high-profile removals
include known or suspected terrorists, those involved in counterproliferation crimes, and those on the terrorist watch list and no-fly list. War criminals and others convicted or suspected of committing human rights abuses — including torture, ethnic cleansing and genocide —
are also in this category. Authorities escort high-profile removals out of the country via commercial flights, regularly scheduled ICE charter flights and special high-risk charters. In many cases, the individuals are turned over to law enforcement authorities in their home country
to face charges or sentencing.

Title 42: Title 42 is a public health authority guided by the CDC and is not an immigration authority. On March 21, 2020, The U.S. Department of Health and Human Services transferred Title 42 Public Health Authority to CBP. Under Title 42, CBP prohibited the entry of certain

people who potentially posed a health risk by being subject to previously announced travel restrictions or having unlawfully entered the country to bypass health screening measures. Under Title 42 authority, DHS rapidly expelled irregular border crossers to their country of last
transit — Canada or Mexico — or, when such an expulsion was not possible, interagency partners engaged foreign government officials to secure aliens’ expulsion to their countries of origin.




                                                                                                                                      REMOVALS
                                                                Case 3:25-cv-04870-CRB                                     Document 8-1                        Filed 06/10/25                            Page 24 of 129


                                                            U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                                                                        REMOVALS STATISTICS
                 Removals                     Date Selector                     Removal Fiscal Year                Removal Month                  Area of Responsibility*                      Country of Citizenship                Criminality              Arresting Agency
                                       Year                             (All)                             (All)                           (All)                                       (All)                               (All)                       (All)




             Criminality                                                        Removals by Criminality and AOR                                                                                                   Removals Over Time
   Criminal Conviction                          Harlingen
   Pending Criminal Charges                       El Paso                                                                                                                   250,000
   Other Immigration Violator                    Phoenix
                                              San Antonio
                                                                                                                                                                            200,000
                                                 Houston
                                           New Orleans




                                                                                                                                                                 Removals
                                                                                                                                                                            150,000
                                                   Dallas
                                                  Atlanta
                                                   Miami                                                                                                                    100,000
                                                       HQ
                                               San Diego
                                                                                                                                                                             50,000
                                                 Chi
                                                            0         20,000         40,000      60,000           80,000    100,000      120,000
                                                                                                                                                                                 0
                                                                                                      Removals
                                                                                                                                                                                          FY 2021             FY 2022             FY 2023          FY 2024             FY 2025

            Color Selector
   Criminality
                                                                       Removals by Area of Responsibility (AOR)                                                                                         Removals by Country of Citizenship




             Axis Selector
   Area of Responsibility



                                                                                                                                                                Removals
                                         Removals
                                                                                                                                                                  10                   7,000

                                         636                147,686

                                        © OpenStreetMap                                                                                                         © 2025 Mapbox © OpenStreetMap




ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter’s data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.




ICE served a role in transporting aliens expelled under Title 42 via ICE charter flights.

The data in the chart below represents only Title 42 expulsions conducted by ICE via ICE charter flights. Effective May 11, 2023, President Joe Biden declared the end of the COVID-19 national emergency.

Comprehensive data related to Title 42 expulsions for the United States is available through CBP. For additional information, please visit CBP's Title 42 statistical report.




                                                                                                                                      EXPULSIONS
                                                         Case 3:25-cv-04870-CRB                                        Document 8-1                  Filed 06/10/25                              Page 25 of 129


                                                       U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                                                               TITLE 42 EXPULSIONS STATISTICS
             T42 Expulsions                        Metric Selection                           Date Selector                              Expulsion Fiscal Year                                   T42 Expulsion Month                    Country of Citizenship
                                     T42 Expulsions (Individuals)                Year                                          (All)                                                   (All)                                  (All)




   Country of Citizenship
   Brazil

   Colombia                                   Guatemala                                                                                                50K

   Dominican Republic
                                                Honduras                                                                                               40K
   Ecuador

   El Salvador
                                                                                                                                                       30K
   Guatemala                                       Mexico

   Haiti                                                                                                                                               20K
   Honduras                                     Colombia

   Mexico                                                                                                                                              10K
                                                     Haiti
   Nicaragua                                                                                                                                            0K
   Peru                                                                                                                                                                        FY 2021                             FY 2022                          FY 2023
                                                  Ecuador
             Color Selector
   Country of Citizenship
                                                                                                                                                                                 T42 Expulsions (Individuals) by Country of Citizenship
                                                    Brazil



                                                     Peru


              Axis Selector                   El Salvador
   Country of Citizenship


                                     Dominican Republic


                                                                                                                                                             T42 Individuals/Flights
                                               Nicaragua
                                                                                                                                                             50                         40,483

                                                             0K     5K     10K          15K      20K             25K     30K       35K      40K

                                                                                               Metric Selector
                                                                                                                                                      © 2025 Mapbox © OpenStreetMap




Individual T42 Expulsion flights may stop at multiple locations. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuates until “locked” at the conclusion of the fiscal year. These statistics are
published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter’s data.
                                                                                  Case 3:25-cv-04870-CRB                                      Document 8-1                         Filed 06/10/25                       Page 26 of 129


Alternatives to Detention (ATD)




The Alternatives to Detention (ATD) program’s Intensive Supervision Appearance Program is an alien compliance tool overseen by ERO.

ATD uses technology and case management to more closely monitor cases assigned to the non-detained docket where detention is not necessary or appropriate. The level of supervision and technology participants are assigned is based on their current immigration status,
criminal history, compliance history, community or family ties, caregiver or provider status, and other humanitarian or medical conditions. Officials may enroll aliens in ATD following a border apprehension by CBP or an ICE interior administrative arrest, or at a later stage in
removal proceedings.

In fiscal year 2023, ICE’s ATD program deployed the following types of monitoring:

                                  Facial matching technology: Facial matching technology allows participants to report compliance via an app installed on an alien’s own smartphone or a dedicated government-issued device.

                                  GPS monitoring: Satellites track participants’ location to ensure compliance with conditions of release.

                                  Telephonic reporting (telephonic check-in): Phone calls are compared against a voiceprint obtained during enrollment.

                                  Wrist worn device: Provides GPS monitoring, facial matching, and virtual case management functionality, including virtual check-ins and reminders. ICE is conducting a limited deployment of 50 wrist worn devices in the Denver AOR.




                                                                                                                                                 ALTERNATIVES TO DETENTION
                                                           Case 3:25-cv-04870-CRB                                           Document 8-1               Filed 06/10/25                                      Page 27 of 129


                                                          U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                                                              ALTERNATIVES TO DETENTION STATISTICS
                                                                             Date of ATD Snapshot                             Area of Responsibility                                       Date Selector                          Tech                 Legal Stage*
                                                                   December 2024                                    (All)                                                      Year                                   (All)                    (All)




                Tech                                                                ATD by AOR and Tech                                                                                                               ATD Over Time
   BI VeriWatch                     San Francisco
                                                                                                                                                                                    250K
   GPS Ankle Monitor                       Chicago
   SmartLINK Facial Matching          Los Angeles




                                                                                                                                                        Active Participants Years
                                                                                                                                                                                    200K
   VoiceID Telephonic Check-in              Miami
                                           Newark
                                    New York City                                                                                                                                   150K

                                           Seattle
                                           Boston                                                                                                                                   100K
                                           Detroit
                                     Philadelphia                                                                                                                                   50K
                                    Salt Lake City
                                                     0K       2K      4K           6K    8K       10K        12K        14K      16K     18K     20K                                 0K
                                                                                              Active Participants                                                                          FY 2021          FY 2022           FY 2023     FY 2024             FY 2025


          Color Selector
   Tech
                                                                       ATD by Area of Responsibility (AOR)                                                                                                      ATD by Country of Birth




           Axis Selector
   Area of Responsibility

                                                                                                                                                                  Active Participants
                                                                                                                                                                        11                 22,722

                                  Active Participants
                                  904                     20,059



                                 © 2025 Mapbox © OpenStreetMap                                                                                         © 2025 Mapbox © OpenStreetMap




ICE provides the above Arrests, Removal, Detention and Alternatives to Detention statistics for public use. ICE confirms the integrity of the data as published on this site and cannot attest to subsequent transmissions. Data fluctuate until "locked" at the
conclusion of the fiscal year. These statistics are published with data one quarter in arrears. Future quarter-end and year-end reporting may include corrections and other updates and will supersede previous quarter’s data.

*The Harlingen AOR was added from parts of San Antonio and Houston in FY2022.

*Unknown Legal Stage: Legal stage data was unavailable when the record was produced. Data is extracted under a point-in-time scenario.




Additional Resources


      ICE Fiscal Year 2024 Annual Report
      ICE Fiscal Year 2023 Annual Report
      ICE Fiscal Year 2022 Annual Report
      ICE Fiscal Year 2021 Annual Report
                                                     Case 3:25-cv-04870-CRB                                      Document 8-1                        Filed 06/10/25                    Page 28 of 129
      ICE Annual Report Fiscal Year 2020
      Fiscal Year 2020 Enforcement and Removal Operations Report | Local Statistics 2020
      Fiscal Year 2020 Homeland Security Investigations
      Fiscal Year 2019 Enforcement and Removal Operations | Local Statistics 2019
      Fiscal Year 2019 Homeland Security Investigations
      Fiscal Year 2018 Enforcement and Removal Operations | Local Statistics 2018
      Fiscal Year 2018 Homeland Security Investigations
      Fiscal Year 2017 Enforcement and Removal Operations | Local Statistics 2017
      Fiscal Year 2017 Homeland Security Investigations
      Fiscal Year 2016 Enforcement and Removal Operations | Local Statistics 2013-2016
      Fiscal Year 2016 Homeland Security Investigations
      Fiscal Year 2015 Enforcement and Removal Operations
      Fiscal Year 2014 Enforcement and Removal Operations
      Fiscal Year 2013 ICE Immigration Removals




Definitions



       Term                                                                                                                                Definition


Aliens              People without U.S. citizenship or nationality, which may include stateless people.

AOR                 AOR refers to the area of responsibility that ICE has identified as a geographic region for an action taken.

Arresting           Arresting agency is either CBP or ICE. Border patrol and inspections by air, land or sea are the program areas included within the CBP data.
Agency

Arrests             ICE administrative arrests occur when an ICE officer physically apprehends an alien for a non-criminal civil infraction. The immigration courts hear these cases. ICE civil immigration enforcement arrests do not always lead to detention.

ATD                 ATD refers to ICE's Alternatives to Detention program. ATD is a flight-mitigation tool that uses technology and case management to ensure alien compliance with release conditions, court hearings and final orders of removal while allowing
                    them to remain in their communities as they move through the immigration process or prepare for departure from the United States.

CBP                 U.S. Customs and Border Protection.

Citizenship         Country of citizenship of the alien . Country of Citizenship is derived from the ICE system of record as it is input by the officer at the time of processing. An "Unknown" Country indicates the alien failed or refused to identify a country of
Country             citizenship or the officer lacked documentation to do so at the time. Country of Birth or Citizenship can be updated at anytime during the Immigration Lifecycle by an Officer. These aliens can include those that were born in Palestine, West
                    Bank, or the Gaza strip and considered Stateless.

Criminality         Criminality encompasses three categories: individuals with criminal convictions, people with pending criminal charges, and other immigration violators. Those with convictions are immigration violators who have a criminal conviction in
                    ICE's system of record at the time of the enforcement action. Pending criminal charges refers to an immigration violator with pending criminal charges in ICE's system of record at the time of the enforcement action. Other immigration
                    violators are individuals without any known criminal convictions or pending charges in ICE's system of record at the time of the enforcement action.

Detentions          The detention data presented counts the number of initial book-ins into ICE facilities and does not include juveniles who are transferred to Office of Refugee Resettlement custody or housed in an ORR facility. U.S. Marshals Service prisoners
                    are also excluded. Transfers between ICE facilities are not counted as new detention events, and aliens may be booked into ICE facilities more than once without triggering a new detention event.

Expulsions          The term ‘Expulsion’ refers to the removal of an alien pursuant to the United States Code other than Title 8 such as Title 42 or Title 50.

Facial              Facial monitoring technology is a form of monitoring for ATD participants. It is a smartphone application that uses facial recognition technology to verify the user's identity and physical location. This application also provides video
Monitoring          conferencing, community referrals, messaging between the alien and an officer, document capturing, appointment reminders and a calendar.

GPS Ankle           A GPS ankle monitor is a low-profile ankle bracelet that uses GPS to provide detailed information about an ATD participant's movement.
Monitor

ICE                 U.S. Immigration and Customs Enforcement.

Removals            ICE removal data includes returns. Returns include:

                           Voluntary returns: Discretionary relief granted by an ICE officer at the border by permitting an alien to depart the United States without a removal order and related immigration consequences.
                           Voluntary departures: Discretionary relief granted in removal proceedings or by an ICE officer in lieu of removal proceedings permitting an alien to depart the United States voluntarily without a removal order and related immigration
                           consequences.
                                                      Case 3:25-cv-04870-CRB                                        Document 8-1                          Filed 06/10/25                       Page 29 of 129
       Term                                                                                                                                     Definition

                            Withdrawals under docket control: Discretionary relief granted by an ICE officer or immigration judge to an alien encountered at a port of entry that permits the alien to voluntarily withdraw an application for admission to the United
                            States and depart the United States without a removal order and related immigration consequences.

                     ICE Removals include aliens processed for Expedited Removal (ER) or Voluntary Return (VR) that are turned over to ERO for detention. As of May 12, 2023, aliens processed for ER that were turned over from Border Patrol to ICE for removal via ICE Air are also
                     included. Aliens processed for ER and not detained by ERO or VR after June 1, 2013, and not detained by ERO are primarily processed by Border Patrol. Those statistics are not included in this dashboard and are maintained by CBP. This does not include
                     Title 42 expulsions.




 Staging sites or    Staging sites, also known as S-Sites, are locations mostly along the Southwest Border that enroll participants being released from CBP or ICE custody. These participants are generally given fewer than 30 days to report to an ERO office in their
 S-sites             final destination AOR. After a participant arrives in their AOR, local ATD officers determine their continued suitability in the ATD program and possible transition to other sites.

 Telephonic          Telephonic check-in is a form of monitoring in the ATD program and is a multilingual telephonic voice recognition system. Telephonic check-in automatically calls ATD program participants in one of 36 languages and validates participants’
 Check-in            voices against a master template resulting in pass or failure.

 Unmapped AOR        An ‘Unmapped AOR’ indicates that the location of a given enforcement action is not mapped to a specific AOR in the database.
 Records

 Wrist worn          Provides GPS monitoring, facial matching, and virtual case management functionality, including virtual check-ins and reminders.
 device




Access and Export Congressionally Mandated ICE Data


      ICE Detention Statistics




Access and Export ICE Data


To download the underlying ICE data from all the dashboards as an Excel spreadsheet, click here.

*Applied filters will not be captured in the data download.
*Records with less than 10 aliens are excluded for privacy reasons.




Tips for Using the ICE Dashboards




        This page is best viewed on a desktop computer. If you are using Internet Explorer, you may have issues viewing the charts on this page. Please use another browser, such as Chrome, Safari, Firefox or Edge to view. When using a mobile device, the charts
        are best displayed in landscape mode. If the charts are not loading or appear overlapping, refresh your browser or press Ctrl+F5 on a PC or Cmd+R on a Mac.
        Dashboards are best viewed in "Full Screen." To enter "Full Screen" click the "Full Screen" button next to "Share" at the bottom-right corner of each dashboard.
                                               Case 3:25-cv-04870-CRB                                     Document 8-1                     Filed 06/10/25                     Page 30 of 129


Tips for Exporting ICE Dashboards as Images




   To download the underlying data as an Image, PDF, or PowerPoint spreadsheet, click the “Download” button next to "Full Screen" at the bottom-right corner of each dashboard.
   *Records with less than 10 aliens are excluded for privacy reasons.




                                                                                                                                                                                                   Updated: 05/30/2025


                                ADDRESS                                                         RELATED INFORMATION                                       CONTACT US
                                 500 12th St SW                                                Mission                                                   General Information
                                  Washington, DC 20536
                                                                                                Who We Are                                                ICE Field Offices
                                 Report Crimes: Call 1-866-DHS-2-ICE
                                                                                                ICE Leadership                                            HSI International Offices

                                                                                                Career Opportunities                                      Media Inquiries
                                                                                                News Releases and Statements                              Small Business



                                                                                     About Us                                                    Immigration Enforcement



                                                                            Combating Transnational Crime                                                Newsroom




                                                                                                                                                                      ICE Contact Center
                                                                                                                                                     Report suspicious activity: 1-866-DHS-2-ICE




                                                                     ICE.gov
                                                                     An official website of the U.S. Department of Homeland Security                                   National
                                                           About ICE                        Archive                            The White House                         Terrorism
                                                           Accessibility                    No FEAR Act Data                   DHS Components                          Advisory
                                                           FOIA Requests                    Site Links                         USA.gov
                                                                                                                                                                       System
                                                           Privacy Policy                   Performance Reports
                                                           DHS.gov                          Inspector General
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 31 of 129




                            EXHIBIT C
               Case 3:25-cv-04870-CRB          Document 8-1      Filed 06/10/25   Page 32 of 129




      P O L I C Y S O LU T I O N




    Limiting the Military’s Role in Law
    Enforcement
    The Posse Comitatus Act bars the armed forces from serving as civilian
    police, but loopholes and exceptions undermine its effectiveness.




    Joseph Nunn



    PU B L I S H E D : October 2, 2024




    In May 1992, seven U.S. Marines joined                   me” — a request, in law enforcement par‐
    two local police officers as they responded              lance, that they raise their weapons and
    to a domestic violence call in the waning                be ready to fire if necessary. But the
    days of the Los Angeles riots. Deployed to               Marines, in accordance with their own
    the city alongside several thousand other                training, took it as a request for suppress‐
    federal troops after President George                    ing fire. They riddled the home with more
    H. W. Bush invoked the Insurrection Act,                 than 200 bullets. Miraculously, no one was
    these Marines now found themselves play‐                 killed. [1]
    ing a role for which they had little training:
                                                             In the United States, federal military par‐
    that of civilian law enforcement officer.
                                                             ticipation in civilian law enforcement like
    At the scene, as the police officers pre‐                this has been rare, particularly over the
    pared to enter the home, someone inside                  past half century. The idea of tanks rolling
    fired a shotgun through the door. One of                 down the streets of American towns and
    the officers shouted to the Marines, “Cover              soldiers dressed in camouflage appre‐



1                          Brennan Center for Justice at New York University School of Law
            Case 3:25-cv-04870-CRB        Document 8-1    Filed 06/10/25    Page 33 of 129

    hending Americans is anathema to mod‐             itary as a domestic police force. But there
    ern sensibilities. Some Americans might           are also other ways in which the Posse
    even assume that these actions are pro‐           Comitatus Act fails to provide robust pro‐
    hibited by the U.S. Constitution. Indeed,         tection against the use of federal troops
    the use of federal troops as a domestic po‐       for law enforcement purposes.
    lice force is in tension with both constitu‐
                                                      In reality, the principle enshrined in the
    tional principles and long-standing
                                                      Posse Comitatus Act is protected more by
    American traditions, which were informed
                                                      norms and historical practice than by the
    by the British government’s heavy-handed
                                                      text of the law itself. Those norms and
    use of the military to police the colonies in
                                                      practices are significant, to be sure, and
    the years leading up to the American
                                                      efforts to reform the law should embrace
    Revolution. Events like the Boston
                                                      and codify them. But in an era in which we
    Massacre illustrated to the founding gen‐
                                                      can no longer rely on tradition to constrain
    eration the dangers of domestic deploy‐
                                                      executive action, the Posse Comitatus
    ment of the military. But while the
                                                      Act’s flimsiness poses serious risks.
    Constitution limits military involvement in
                                                      Rather than wait for those risks to materi‐
    civilian affairs in various ways, it does not
                                                      alize, Congress should act now to shore up
    entirely bar the federal armed forces from
                                                      the law’s protections.
    conducting law enforcement activities. A
    partial prohibition comes instead from a          This report proceeds in three parts. Part I
    law passed by Congress in 1878: the Posse         discusses the dangers of using the mili‐
    Comitatus Act.                                    tary for domestic law enforcement, a con‐
                                                      cern that has been prominent in American
    The Posse Comitatus Act rests at the cen‐
                                                      legal thinking since the nation’s founding.
    ter of a web of laws, regulations, and poli‐
                                                      It also explains how the Constitution ap‐
    cies that govern what the U.S. military can
                                                      proaches domestic deployment of the mil‐
    and cannot do domestically. It is a crucial
                                                      itary, including the central role accorded
    safeguard for the preservation of both
                                                      to Congress. Part II lays out the array of
    American democracy and constitutional
                                                      problems that undermine the Posse
    liberties. At the same time, it is riddled
                                                      Comitatus Act, from its many statutory ex‐
    with exceptions, loopholes, and ambigui‐
                                                      ceptions to its lack of meaningful enforce‐
    ties that leave it surprisingly weak. The
                                                      ment mechanisms. Finally, part III lays out
    most dangerous exception by far is the
                                                      a legislative proposal for fixing each of
    Insurrection Act, which gives the president
                                                      these shortcomings.
    virtually limitless discretion to use the mil‐



2                   Brennan Center for Justice at New York University School of Law
             Case 3:25-cv-04870-CRB            Document 8-1        Filed 06/10/25       Page 34 of 129

                                                                                      [link-1]
                   D OW N LOA D P D F




    Endnotes


    1 See Kyle Daly, “1992: Rioting in Los Angeles,” Leatherneck, October 2020, 30, 34, https://www.mca-
    marines.org/wp-content/uploads/1992-Riots-in-Los-Angeles.pdf. See also Paul J. Scheips, The Role of Federal
    Military Forces in Domestic Disorders, 1945–1992 (Washington, DC: Center of Military History, United States
    Army, 2012), 448, https://www.govinfo.gov/content/pkg/GOVPUB-D114-PURL-gpo82975/pdf/GOVPUB-D114-
    PURL-gpo82975.pdf.




Links


link-1: Download PDF /media/13317/download




3                     Brennan Center for Justice at New York University School of Law
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 35 of 129




                            EXHIBIT D
           Case 3:25-cv-04870-CRB                                                 Document 8-1                              Filed 06/10/25       Page 36 of 129




  SOCIETY



Crowds clash with federal agents after dozens detained in ICE raids across LA

Friday, June 6, 2025 9:40PM




Este artículo se ofrece en Español




Immigration enforcement agents carried out raids in Los Angeles, prompting gatherings of protesters who at one point clashed with authorities.




WESTLAKE, LOS ANGELES (KABC) -- Immigration enforcement agents carried out raids in Los Angeles Friday, prompting gatherings of protesters who at one point
clashed with authorities.


At one scene in downtown Los Angeles, a crowd of people tried to prevent authorities from leaving in vans after multiple people were detained.
            Case 3:25-cv-04870-CRB                                                Document 8-1                              Filed 06/10/25              Page 37 of 129




Immigration enforcement agents carried out raids in Los Angeles Friday, prompting gatherings of protesters who at one point clashed with authorities.


Protesters could be seen throwing objects at the vehicles, while others tried to block the vans from leaving. One person was nearly run over when they fell to the ground
after getting in front of one of the vehicles.


Friday evening, protesters marched in downtown L.A. condemning Friday's immigration raids.


Immigration enforcement agents were spotted at two separate locations in the morning, including a Home Depot store in the Westlake District.




                                                                                                                                                                  Read More


                               00:01                                                                                                                      02:00




Video posted to the Citizen app showed Department of Homeland Security agents escorting men in handcuffs outside the store on Wilshire Boulevard.


A witness who spoke with Eyewitness News outside the store said several people, including men and women, some of whom are street food vendors, were detained.


"We're a little scared," said the witness in Spanish.

24/7 Live                                                                                                                                                                     62°
Mayor Karen Bass told Eyewitness News that neither she nor LAPD had any idea these raids were going to happen.


"Frankly, I'm just outraged because what happened is that went ICE went in they just took people away. And we just can't have this in our city, and it happened at multiple
places in the city," Bass said. "It sows a sense of terror throughout the community...ICE was literally chasing people down the street."
          Case 3:25-cv-04870-CRB                                                Document 8-1                              Filed 06/10/25                            Page 38 of 129




"I've been really worried about this from the beginning, and as far as I know, this is the first time this has happened in our city like this. We know ICE has been here, but it's
been for targeted arrests; this was just mass chaos," Bass added. "It sows a sense of chaos in our city, and a sense of terror, and it's just unacceptable."




Mayor Karen Bass spoke with Eyewitness News Friday afternoon regarding the ICE raids that occurred across the city, and said that neither she nor LAPD had any idea these raids were going to happen.


The mayor also said that SEIU-USWW President David Huerta was injured and hospitalized after federal agents got on top of him to detain him. The mayor said Huerta was
just an observer and a witness as part of a rapid response network to the community when events like these occur.


ABC7 spoke with members of the SEIU who said the union leader wanted to protect his members working at the Ambiance Apparel location at 15th Street and Santa Fe
Avenue. At some point, there was a scuffle involving federal agents and it appeared Huerta was pushed down and hit his head. One video shows a federal agent pushing
Huerta while he has his hands at his hips, after which, he falls to the ground.


Friday evening, Angélica Salas, Executive Director of CHRLA, said Huerta had been released from the hospital but was still being detained by federal authorities.


Meanwhile, FBI agents were also spotted outside the Ambiance Apparel store near 9th Street and Towne Avenue in the Fashion District. Dozens of people were seen
gathered outside the store.
           Case 3:25-cv-04870-CRB                                                  Document 8-1                               Filed 06/10/25              Page 39 of 129




                                                                                                                                                                    Read More


                               01:49                                                                                                                        02:00




At around 10 p.m. Friday, federal agents were seen gathering at a parking lot in the on the 700 block of north Hill Street in Chinatown. It was unclear whether they were
carrying out an operation or not.


Their presence sparked a confrontation between the agents and a large crowd of residents. Video from AIR7 showed several unmarked vehicles and federal agents trying
to clear out the crowd.




Several federal agents staged in a parking lot on the 700 block of north Hill Street in Chinatown Friday evening, prompting a large crowd of residents.


A senior DHS spokesperson sent ABC7 a statement Friday, but did not directly address the investigations at both locations.


The statement said in part, "ICE is now following the law and placing these illegal aliens in expedited removal, as they always should have been."


"If they have a valid credible fear claim, they will continue in immigration proceedings, but if no valid claim is found, aliens will be subject to a swift deportation."
         Case 3:25-cv-04870-CRB                                    Document 8-1                       Filed 06/10/25                    Page 40 of 129




Eyewitness News is working to get more information.


Aerial video from AIR7 showed federal agents using a parking lot for their operations near a California Highway Patrol office. According to CHP, the FBI requested to use
the lot but did not disclose it would be used as part of immigration enforcement.


"The CHP was informed by the FBI that the request to use the public parking lot was for a federal operation not related to immigration enforcement. Based on that
representation, CHP granted access to the parking lot strictly for staging purposes and did not participate in the operation itself," said CHP in a statement. "CHP was not
made aware of any involvement by immigration enforcement agencies at the time of the request. If the nature or scope of the operation changed or was broader than
initially communicated, that information was not disclosed to CHP prior to the approval."


Friday's raids come as the advocacy group League of United Latin American Citizens calls for an investigation after reports surfaced of U.S. Immigration and Customs
Enforcement holding families in detention at a federal building in downtown L.A.


Images shared by LULAC showed several people being detained by authorities.


Swift condemnation from local leaders
California Gov. Gavin Newsom joined the many condemning Friday's immigration raids saying:


"Continued chaotic federal sweeps, across California, to meet an arbitrary arrest quota are as reckless as they are cruel. Donald Trump's chaos is eroding trust, tearing
families apart, and undermining the workers and industries that power America's economy."


U.S. Senator Alex Padilla (D-Calif.) echoed the governor's sentiments, calling the raids "extreme" and "cruel." He issued the following statement:


"The ICE raids across Los Angeles today are a continuation of a disturbing pattern of extreme and cruel immigration enforcement operations across the country. These
indiscriminate raids prove once again that the Trump administration cares about nothing but instilling harm and fear in our communities to drive immigrants into the
shadows. It will not work. This fearmongering is not going to change the fact that immigrants are valued members of our communities who contribute to our society and
economy, and my office will demand accountability for today's actions."


L.A. County Supervisor Janice Hahn said:


"The ICE raids across Los Angeles today are chilling. They aren't targeting violent criminals - they are sweeping up hardworking people in our communities just trying to
provide for their families. These agents are armed to the teeth and it is clear their goal is to make people afraid and it's working. I understand that during this morning's
raids, SEIU California President David Huerta was injured by federal agents and wrongfully detained. I am calling for his immediate release. This is a democracy. People
have a right to peacefully protest, to observe law enforcement activity, and to speak out against injustice."


Los Angeles County Supervisor Lindsey P. Horvath shared the following:


"Today's ICE raids were acts of cruelty and bigotry, targeting our immigrant neighbors and tearing families apart. These actions are designed to instill fear in communities
of color-but we will not be intimidated, and we will not be silent. I'm in direct communication with County, State, & community leaders to ensure that all available
protections from LA County are activated immediately. We must remain vigilant. We must protect one another. And above all, we will stand together."


Los Angeles County Chair Pro Tem and First District Supervisor Hilda L. Solis issued the following statement:


"Today's immigration sweeps across the First District in downtown Los Angeles, Westlake, and Cypress Park are deeply disturbing. The individuals detained are
hardworking Angelenos who contribute to our local economy and labor force every day. It is also horrifying that ICE targeted Skid Row to intimidate some of our most
vulnerable residents. Trump said he would go after criminals, not innocent hardworking people contributing to our economy and supporting their families.


These are difficult times that have our communities fearful and concerned by these federal immigration actions. As we continue to hear from community organizers
exercising their rights to speak out, it is vital we all remain safe and calm in assessing the needs of those impacted. Los Angeles County remains committed to standing
with our immigrant communities, providing support through our Office of Immigrant Affairs and our network of nonprofit partners."


L.A. City Councilmembers Eunisses Hernandez, Adrin Nazarian, Bob Blumenfield, Nithya Raman, Katy Yaroslavsky, Imelda Padilla, Marqueece Harris-Dawson, Heather
Hutt, Hugo Soto-Martínez, Ysabel Jurado, and Tim McOsker released the following statement in response to the raids:
            Case 3:25-cv-04870-CRB                                                   Document 8-1                              Filed 06/10/25            Page 41 of 129
"Today, Los Angeles witnessed an egregious escalation from federal immigration agencies as reports of ICE raids and activity occurred throughout the City. This
indiscriminate targeting of children and families not only harms the individuals who are directly impacted, but destroys our communities' sense of trust and safety in
their own homes.


We condemn this in no uncertain terms: Los Angeles was built by immigrants and it thrives because of immigrants. We will not abide by fear tactics to support extreme
political agendas that aim to stoke fear and spread discord in our city. To every immigrant living in our city: we see you, we stand with you, and we will fight for you. Los
Angeles will continue to be a place that values and dignifies every human being, no matter who they are or where they come from."


Los Angeles Unified School District Superintendent Alberto Carvalho said:


"I am dismayed by recent immigration enforcement activity occurring near our schools. These actions are causing unnecessary fear, confusion, and trauma for our
students and families - many of whom are simply trying to get to and from school and work, and to live with dignity. Our schools must remain safe havens - places where
every child can learn, grow, and thrive without fear of being separated from their loved ones. The presence of federal immigration activity near campuses threatens that
fundamental right. Children deserve support, not surveillance.


Los Angeles Unified stands with our immigrant families. We will continue to provide resources, support, and information to protect our students and their families - and
we will use every tool at our disposal to advocate for their safety and well-being.


We are working with school leaders, safety teams, and community partners to ensure that impacted schools remain a safe, welcoming, and protected environment for all
students and families. We are advising families to closely monitor communication from their schools. If any parent or guardian sees immigration activity, please contact
your school, utilize the LASAR app, and/or call the Family Hotline at 213-443-1300."


Los Angeles County Sheriff Robert Luna also issued a statement reminding the public that the department does not participate in any immigration enforcement activities,
and urged everyone to remain calm:


"This afternoon, we received several reports of federal immigration enforcement actions across Los Angeles County. The Los Angeles County Sheriff's Department wants
to emphasize that we do not participate in any civil immigration enforcement activities or mass deportation sweeps. Immigration enforcement is the responsibility of
federal law enforcement agencies not the Sheriff's Department. The Sheriff's Department does not enforce civil immigration laws, nor do we ask about an individual's
immigration status when responding to calls for service. Our focus and priority remain on enforcing state and local laws to ensure the safety and well-being of our diverse
communities throughout Los Angeles County.


We deeply value diversity, inclusion and public trust within our communities and we want our residents to know that when they call for help, the Los Angeles County
Sheriff's Department will respond, investigate, and protect everyone-regardless of a person's legal status. We recognize that these reports have caused fear, anxiety, and
concern within our communities. We urge everyone to remain calm and peaceful as we continue to place your safety and well-being at the forefront of our efforts."




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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 43 of 129




                            EXHIBIT E
Case 3:25-cv-04870-CRB                   Document 8-1                        Filed 06/10/25               Page 44 of 129




                                                  PRESIDENTIAL ACTIONS

              Department of Defense Security for the Protection of Department of Homeland Security Functions


                                                  Presidential Memoranda


                                                       June 7, 2025




          MEMORANDUM FOR THE SECRETARY OF DEFENSE
                 THE ATTORNEY GENERAL
                 THE SECRETARY OF HOMELAND SECURITY
          SUBJECT:     Department of Defense Security for the Protection of Department of Homeland
          Security Functions
          Numerous incidents of violence and disorder have recently occurred and threaten to
          continue in response to the enforcement of Federal law by U.S. Immigration and Customs
          Enforcement (ICE) and other United States Government personnel who are performing
          Federal functions and supporting the faithful execution of Federal immigration laws. In
          addition, violent protests threaten the security of and significant damage to Federal
          immigration detention facilities and other Federal property. To the extent that protests or
          acts of violence directly inhibit the execution of the laws, they constitute a form of rebellion
          against the authority of the Government of the United States.
                                                    The WHITE HOUSE
          In light of these incidents and credible threats of continued violence, by the authority vested
          in me as President by the Constitution and the laws of the United States of America, I hereby
          call into Federal service members and units of the National Guard under 10 U.S.C. 12406 to
          temporarily protect ICE and other United States Government personnel who are performing
          Federal functions, including the enforcement of Federal law, and to protect Federal property,
          at locations where protests against these functions are occurring or are likely to occur based
          on current threat assessments and planned operations. Further, I direct and delegate actions
          as necessary for the Secretary of Defense to coordinate with the Governors of the States and
          the National Guard Bureau in identifying and ordering into Federal service the appropriate
          members and units of the National Guard under this authority. The members and units of the
          National Guard called into Federal service shall be at least 2,000 National Guard personnel
          and the duration of duty shall be for 60 days or at the discretion of the Secretary of Defense.
          In addition, the Secretary of Defense may employ any other members of the regular Armed
          Forces as necessary to augment and support the protection of Federal functions and
          property in any number determined appropriate in his discretion.
          To carry out this mission, the deployed military personnel may perform those military
          protective activities that the Secretary of Defense determines are reasonably necessary to
          ensure the protection and safety of Federal personnel and property The Secretary of
          Defense shall consult with the Attorney General and the Secretary of Homeland Security
          prior to withdrawing any personnel from any location to which they are sent. The Secretaries
          of Defense and Homeland Security may delegate to subordinate officials of their respective
          Departments any of the authorities conferred upon them by this memorandum.
                        DONALD J. TRUMP




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 Case 3:25-cv-04870-CRB     Document 8-1                        Filed 06/10/25   Page 45 of 129
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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 46 of 129




                            EXHIBIT F
                   Case 3:25-cv-04870-CRB                                                          Document 8-1                                   Filed 06/10/25                       Page 47 of 129
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U.S. NEWS

Federal authorities arrest dozens for immigration violations across Los
Angeles




                                                                      BY DAMIAN DOVARGANES AND OLGA R. RODRIGUEZ
                                                                      Updated 9:21 AM PDT, June 7, 2025


                                                                      LOS ANGELES (AP) — After federal immigration authorities arrested more than 40 people Friday across Los
                                                                      Angeles, protesters gathered outside a federal detention center demanding their release before police in riot
                                                                      gear tossed tear gas canisters to disperse the crowd.

                                                                      Immigration and Customs Enforcement officers executed search warrants at multiple locations, including
                                                                      outside a clothing warehouse where a tense scene unfolded as a crowd tried to block agents from driving
                                                                      away. Sirens blared as protesters surrounded black SUVs and tactical vehicles. Officers threw flash bangs into
                                                                      the street to disperse people as they shouted and filmed the scene with their cell phones. One demonstrator
                                                                      tried to physically stop a vehicle from leaving.

                                    LA protests   Sly Stone dies   AppleForty-four
                                                                         at WWDC people    were arrested
                                                                                   Greta Thunberg        on immigration violations across multiple locations, said Yasmeen Pitts
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                                                                      O’Keefe, a spokesperson for Homeland Security Investigations. The president of SEIU California, a major
                                                                      labor union, was arrested and charged for impeding a federal agent while protesting, the U.S. Attorney’s
                                                                      office said.



                                                                      Los Angeles Mayor Karen Bass said the activity was meant to “sow terror” in the nation’s second-largest city.


                                                                      RELATED STORIES




                                                                      Trump sending National Guard troops to LA-area protests against ICE




                                                                      Los Angeles' image is scuffed since ICE raids and protests
Case 3:25-cv-04870-CRB                   Document 8-1                                       Filed 06/10/25                        Page 48 of 129




                 Marines deployed to LA to respond to immigration protests


                 Federal immigration authorities have been ramping up arrests across the country to fulfill President Donald
                 Trump’s promise of mass deportations. Todd Lyons, the head of U.S. Immigration and Customs Enforcement,
                 defended his tactics earlier this week against criticism that authorities are being too heavy-handed. He has
                 said ICE is averaging about 1,600 arrests per day and that the agency has arrested “dangerous criminals.”

                 Protests recently broke out after an immigration action at a restaurant in San Diego and in Minneapolis, when
                 federal officials in tactical gear showed up in a Latino neighborhood for an operation they said was about a
                 criminal case, not immigration.




                 Protesters chant ‘set them free’
                 In Los Angeles, federal agents executed search warrants at three locations, O’Keefe said. But Angelica Salas,
                 executive director for the Coalition of Humane Immigrant Rights, or CHIRLA, said advocates were aware of
                 activity at seven locations, including several Home Depot parking lots and a doughnut shop.

                 At the warehouse in the fashion district, agents had a search warrant after they and a judge found there was
                 probable cause the employer was using fictitious documents for some of its workers, U.S. Attorney’s Office
                 spokesperson Ciaran McEvoy confirmed.

                 Dozens of protesters gathered Friday evening outside a federal detention center in Los Angeles where
                 lawyers said those arrested had been taken, chanting “set them free, let them stay!”

                 Other protesters held signs that said “ICE out of LA!” while others led chants and shouted from megaphones.
                 Some scrawled graffiti on the building facade.

                 Officers holding protective shields stood shoulder to shoulder to block an entrance. Some tossed tear gas
                 canisters to disperse the crowd. Officers wearing helmets and holding batons then forced the protesters
                 away from the building by forming a line and walking slowly down the street.



                 “Our community is under attack and is being terrorized. These are workers, these are fathers, these are
                 mothers, and this has to stop. Immigration enforcement that is terrorizing our families throughout this
                 country and picking up our people that we love must stop now,” Salas, of CHIRLA, said at an earlier press
                 conference while surrounded by a crowd holding signs protesting Immigration and Customs Enforcement.


                 One detainee sent to Mexico
                 Yliana Johansen-Mendez, chief program officer for the Immigrant Defenders Law Center, said her
                 organization was aware of one man who was already deported back to Mexico after being picked up at a
                 Home Depot on Friday morning. The man’s family contacted her organization and one of their attorneys was
                 waiting for hours to speak to him inside the detention center, she said. Authorities later said he had already
                 been removed, and the man later contacted his family to say he was back in Mexico.

                 Videos from bystanders and television news crews captured people being walked across a Home Depot
                 parking lot by federal agents as well as clashes that broke out at other detention sites. Outside the
                 warehouse, KTLA showed aerial footage of agents leading detainees out of a building and toward two large
                 white vans waiting in a parking lot.



                 The hands of the detained people were tied behind their backs. The agents patted them down before loading
                 them into the vans. The agents wore vests with the agency acronyms FBI, ICE and HSI. Armed agents used
                 yellow police tape to keep crowds on the street and sidewalk away from the operations.

                 Immigrant-rights advocates used megaphones to speak to the workers, reminding them of their
                 constitutional rights and instructing them not to sign anything or say anything to federal agents, the Los
                 Angeles Times reported.



                 Katia Garcia, 18, left school when she learned her father, 37-year-old Marco Garcia, may have been targeted.

                 Katia Garcia, a U.S. citizen, said her father is undocumented and has been in the U.S. for 20 years. “We never
                 thought this would happen to us,” she told the Los Angeles Times.

                 ___

                 Rodriguez reported from San Francisco and McAvoy from Honolulu. Associated Press journalists Jae Hong
                 and Eugene Garcia in Los Angeles, Amy Taxin in Orange County, California, and Kathleen Ronayne in
                 Sacramento, California, contributed.
                                          Case 3:25-cv-04870-CRB                                                  Document 8-1          Filed 06/10/25   Page 49 of 129


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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 50 of 129




                            EXHIBIT G
                               Case 3:25-cv-04870-CRB                                                     Document 8-1                                 Filed 06/10/25                               Page 51 of 129
                                                                                                                                                                                                                              LIVE




                           EXPLAINER
                           News | Police

                           ICE launches ‘military-style’ raids in Los Angeles: What we know
                           More than 40 people have been arrested by immigration officials in what has been described as an ‘oppressive and vile paramilitary operation’.




                           Los Angeles Police Department officers move to disperse a protest after federal immigration authorities conducted an operation on Friday, June 6, 2025 [Jae C Hong/AP]


                             By Al Jazeera Staff
                             7 Jun 2025




                           Los Angeles witnessed a series of coordinated immigration raids by United States law enforcement officials on Friday, resulting in the arrest of
                           dozens and igniting widespread protests.


                           The raids, which were carried out in a military-style operation, have intensified concerns about the force used by federal immigration officials and
                           the rights of undocumented individuals.



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                           Here is what we know about the raids and the latest on the ground.


                           What happened in LA?
                           Federal agents from US Immigration and Customs Enforcement (ICE), the Department of Homeland Security (DHS), the Federal Bureau of
                           Investigation (FBI) and the Drug Enforcement Administration (DEA) conducted a series of “immigration enforcement operations” across Los
                           Angeles on Friday morning.


                           Individuals suspected of “immigration violations and the use of fraudulent documents” were arrested. The arrests were carried out without judicial
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                               Case 3:25-cv-04870-CRB                                                     Document 8-1                                 Filed 06/10/25                               Page 52 of 129




                          The Los Angeles Police Department (LAPD), which did not take part in the raids, was called in to quell ensuing protests.


                          The raids were part of a broader initiative under the Trump administration’s intensified immigration policies.



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                          Which areas were raided?
                          The raids focused on several locations in downtown LA and its immediate surroundings. These spots are known to have significant migrant popula-
                          tions and labour-intensive industries.


                          Angelica Salas, executive director of the Coalition of Humane Immigrant Rights (CHIRLA), which covers California – home to the US’s largest pop-
                          ulation of undocumented people – said advocates had recorded enforcement activity at seven sites. This included two Home Depot stores in the
                          Westlake District of Los Angeles, a doughnut shop and the clothing wholesaler, Ambiance Apparel in the Fashion District of downtown Los
                          Angeles.


                          Other locations in which raids were carried out included day labour centres and one other Ambiance facility near 15th Street and Santa Fe Avenue
                          in south Los Angeles.


                          How many people have been arrested?
                          ICE and Homeland Security Investigations (HSI) reported the “administrative arrest” of 44 individuals for immigration-related offences.


                          An administrative arrest, unlike a criminal arrest, refers to detention for civil immigration violations such as overstaying a visa or lacking legal sta-
                          tus, and does not require criminal charges. These arrests can result in detention, deportation, temporary re-entry bans and denial of future immi-
                          gration requests.

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                              Case 3:25-cv-04870-CRB                                                     Document 8-1                                 Filed 06/10/25                               Page 53 of 129




                          Advocates believe the number of arrests made was higher, however. Caleb Soto, of the National Day Laborer Organizing Network, told Al Jazeera
                          that between 70 and 80 people had been detained, but only three lawyers have been allowed access to the detention centre where they were being
                          held to provide legal advice.


                          Soto added that members of the community had effectively been “kidnapped” as officials, wearing masks had not shown warrants or any form of
                          documentation when carrying out arrests.


                          Additionally, David Huerta, president of the Service Employees International Union (SEIU) California, was arrested for allegedly obstructing fed-
                          eral agents during the raids. Huerta was reportedly injured during the arrest and received medical treatment at Los Angeles General Medical
                          Center before being taken into custody.




                          A protester attempts to evade a Department of Homeland Security officer [Jae C Hong/AP Photo]
                          What kinds of raids were these?
                          What sets these raids apart from typical civil enforcement actions was their military-style execution, experts say.


                          According to witnesses, legal observers and advocacy groups, federal agents involved in the operations were heavily armed and dressed in tactical
                          gear, with some wearing camouflage and carrying rifles.


                          Agents arrived in unmarked black SUVs and armoured vehicles and, at certain points, sealed off entire streets around targeted buildings. Drones
                          were reportedly used for surveillance in some areas and access to sites was blocked off with yellow tape, similar to measures which would be taken
                          during a high-threat counterterrorism or drug bust operation.




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                          The ACLU described the show of force as an “oppressive and vile paramilitary operation”. Civil liberties groups said the tactics used had created
                          panic in local communities and may have violated protocols for civil immigration enforcement.




                                  1:17


                          How did protests break out?
                          As news of the raids spread via social media and through immigrant advocacy networks, hundreds of protesters gathered outside the Edward R
                          Roybal Federal Building in downtown Los Angeles, where detainees were being processed.


                          Demonstrators blocked entrances and exits to the building, chanted slogans and demanded the release of those arrested. Some spray-painted anti-
                          ICE slogans on the building’s exterior walls. Several protesters attempted to physically stop ICE vehicles, leading to confrontations with law
                          enforcement.


                          LAPD officers issued dispersal orders and warned protesters that they would be subject to arrest if they remained in the area. To enforce the order,
                          officers in riot gear deployed tear gas, pepper spray and “less-lethal munitions”, including firing rubber bullets to disperse the crowd. A citywide
                          tactical alert was also issued, requiring all LAPD officers to remain on duty.


                          What’s happening now?
                          Shortly after 7pm on Friday [02:00 GMT Saturday], the LAPD declared the protests to be an “unlawful assembly”, meaning that those who failed to
                          leave the area could be subject to arrest. The declaration appeared to remain in effect until the crowd dispersed later that evening, though no for-
                          mal end time was publicly announced.

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                          US media outlets and rights groups reported that hundreds of detainees, including children, were held overnight in the basement of the federal
                          building without access to beds, blankets or adequate food and water.


                          However, an ICE spokesperson told CBS News that the agency “categorically refutes the assertions made by immigration activists in Los Angeles”,
                          stating that it takes its mandate to care for people in custody “seriously”.


                          The status of all individuals detained remains unclear. While some have been released, others continue to be held and details about their current
                          locations or conditions have not been fully disclosed.


                          What are the reactions to the raids?
                          Local and state officials condemned the raids and the manner in which they were conducted.


                          In a statement shared on X on Friday, Los Angeles Mayor Karen Bass said such operations “sow terror in our communities and disrupt basic princi-
                          ples of safety in our city”.


                                                                                                Mayor Karen Bass
                                                                                                @MayorOfLA · Follow

                                                                                      We will not stand for this.




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                          California Governor Gavin Newsom issued a statement describing the operations as “cruel” and “chaotic”, adding that they are an attempt “to meet
                          an arbitrary arrest quota”.


                          All 15 members of the Los Angeles City Council issued a joint statement denouncing the raids.


                          Some Trump administration officials, on the other hand, defended the actions and criticised local leaders for pushing back. White House Deputy
                          Chief of Staff Stephen Miller, for instance, suggested that Mayor Karen Bass was undermining federal law.




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                                                                                                Stephen Miller
                                                                                                @StephenM · Follow

                                                                                      You have no say in this at all. Federal law is supreme and
                                                                                      federal law will be enforced.

                                                                                             Mayor Karen Bass            @MayorOfLA
                                                                                         We will not stand for this.




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                            EXHIBIT H
              Case 3:25-cv-04870-CRB                                                Document 8-1                           Filed 06/10/25                       Page 61 of 129
                                                                                                                                                                                 




Newsom blasts deployment of National Guard to LA as ‘purposefully inflammatory’

The federal government is deploying 2,000 soldiers amid unrest over immigration sweeps in Los Angeles.




                                                     A man helps an injured woman during a protest in the Paramount section of Los Angeles, Saturday, June 7,

                                                     2025, after federal immigration authorities conducted operations. | Eric Thayer/AP




                                                     By   MELANIE   MASON

                                                     06/07/2025     09:00   PM   EDT

                                                     Updated:   06/07/2025       09:28   PM   EDT




                                                     LOS ANGELES — California Gov. Gavin Newsom on Saturday denounced
                                                     President Donald Trump’s plan to deploy thousands of National Guard troops
                                                     to quell pro-immigrant demonstrators in the Los Angeles area, calling the
                                                     action “purposefully inflammatory.”

                                                     The Democrat’s remarks came after Tom Homan, Trump’s border czar, told
                                                     Fox News that the administration planned to send National Guard troops to
                                                     the area. The White House said Trump signed a presidential memorandum
                                                     deploying 2,000 troops “to address the lawlessness that has been allowed to
                                                     fester.”

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                                                        In a statement, Newsom said Trump was moving to take over the California
                                                        National Guard and deploy 2,000 soldiers, which the governor said would
                                                        “only escalate tensions” after protesters confronted immigration agents making
                                                        raids on local businesses. Trump’s move came without Newsom’s signature,
                                                        presumably by invoking Title 10, the legal basis for activating and mobilizing
                                                        the Guard.


                                                        In a social media post, Trump said, “If Governor Gavin Newscum, of California,
                                                        and Mayor Karen Bass, of Los Angeles, can’t do their jobs, which everyone
                                                        knows they can’t, then the Federal Government will step in and solve the
                                                        problem, RIOTS & LOOTERS, the way it should be solved!!!”

                                                        The standoff in Paramount, a small city in southeast Los Angeles County,
                                                        marks the second consecutive day of clashes in the region over high-profile
                                                        immigration raids. At least 44 people were arrested on Friday on suspicion of
                                                        immigration violations.

                                                        Among those arrested was the president of the labor union SEIU California,
                                                        David Huerta, whose injuries during his detainment required brief
                                                        hospitalization and set off a wave of condemnation from California Democratic
                                                        officials, including Newsom. A video of Huerta’s arrest showed officers
                                                        knocking the labor union leader to the ground.

                                                        In Paramount, federal agents in riot gears squared off against protestors, using
                                                        tear gas and flash-bang grenades to disperse the crowds.

                                                        Karoline Leavitt, the White House press secretary, said in a statement that
                                                        “violent mobs have attacked ICE Officers and Federal Law Enforcement Agents
                                                        carrying out basic deportation operations” and that “California’s feckless
                                                        Democrat leaders have completely abdicated their responsibility to protect
                                                        their citizens.”

                                                        Homan told Fox News that while people had a First Amendment right to
                                                        protest, there would be consequences for “crossing the line” and impeding
                                                        ICE’s operations.

                                                        “We’re already ahead of the game. We’re already mobilizing. We’re going to
                                                        bring in the National Guard tonight,” he said. “We’re going to continue doing
                                                        our job. We’re going to push back on these people and we’re going to enforce
                                                        the law.”

                                                        Newsom, in his statement, said such federal intervention was unnecessary.

                                                        “LA authorities are able to access law enforcement assistance at a moment’s
                                                        notice. We are in close coordination with the city and county, and there is
                                                        currently no unmet need,” Newsom said. “The Guard has been admirably
                                                        serving LA throughout recovery. This is the wrong mission and will erode
                                                        public trust.”


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                      Case 3:25-cv-04870-CRB                                               Document 8-1                            Filed 06/10/25               Page 65 of 129
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                                                                                                PRESS RELEASE | June 8, 2025


                                                                            USNORTHCOM statement
                                                                         regarding protection of federal
                                                                          property and personnel in the
                                                                               Los Angeles Area
                                                                          PETERSON SPACE FORCE BASE, Colo. – By direction of Secretary of Defense
                                                                          and in coordination with U.S. Northern Command (USNORTHCOM),
                                                                          approximately 2,000 California Army National Guard soldiers have been placed
                                                                          under federal command and control in a Title 10 status to support the protection of
                                                                          federal personnel and federal property in the greater Los Angeles area.

                                                                          As USNORTHCOM’s land component command, U.S. Army North stood up Task
                                                                          Force 51, with a two-star general, as the ground command and control element
                                                                          over the Title 10 forces. At this time, there are approximately 300 members of the
                                                                          California Army National Guard’s 79th Infantry Brigade Combat Team deployed at
                                                                          the following locations in the greater Los Angeles area: Los Angeles, Paramount,
                                                                          and Compton, California.

                                                                          Additionally, approximately 500 Marines from 2nd Battalion, 7th Marines at
                                                                          Twentynine Palms, California, are in a prepared to deploy status should they be
                                                                          necessary to augment and support the DoD’s protection of federal property and
                                                                          personnel efforts.

                                                                          USNORTHCOM will provide more information as units are identified and
                                                                          deployed.

                                                                                                                 –30–

                                                                          NOTE TO EDITORS: For further information, please contact U.S. Northern
                                                                          Command Public Affairs at (719) 554-6889 or email us at n-ncpa.omb@mail.mil.

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                            EXHIBIT K
      Case 3:25-cv-04870-CRB     Document 8-1       Filed 06/10/25   Page 67 of 129




                     OFFICE OF THE GOVERNOR

                                     June 8, 2025


Hon. Pete Hegseth
Secretary of Defense
Washington, DC 20301

Via email only

Re:    Federalization of the California National Guard

Dear Secretary Hegseth:

       On June 7, 2025, President Trump issued a memorandum to your office
entitled “Department of Defense Security for the Protection of Department of
Homeland Security Functions.” The memorandum purports to invoke 10 U.S.C. §
12406 to “call into Federal service members and units of the National Guard . . .
to temporarily protect ICE and other United States Government personnel who
are performing Federal functions, including the enforcement of Federal law,
and to protect Federal property.” The memorandum further directs “actions as
necessary for the Secretary of Defense to coordinate with the Governors of the
States and the National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard under this
authority.”

      Section 12406 states that “the President may call into Federal service
members and units of the National Guard of any State in such numbers as he
considers necessary” to (1) repel an invasion of the United States by a foreign
nation; (2) suppress a rebellion against the authority of the Government of the
United States; or (3) execute the laws of the United States when the President is
unable to do so with regular forces. Section 12406 further states that “[o]rders for
these purposes shall be issued through the governors of the States.”

      Last night, the Adjutant General of California received a memorandum
from your office with the subject line “Calling Members of the California National

          GOVERNOR GAVIN NEWSOM • SACRAMENTO, CALIFORNIA 95814 • (916) 445-2841
      Case 3:25-cv-04870-CRB    Document 8-1    Filed 06/10/25   Page 68 of 129




Guard into Federal Service,” which states that “[t]wo thousand members of the
California National Guard will be called into Federal service effective
immediately for a period of 60 days.” Notably, this directive did not issue
“through the governor[] of the State[]” as required by section 12406; the
Department of Defense did not transmit this directive to the Office of the
Governor, nor was it approved or ordered by the Governor of California. This
directive is also inconsistent with the President’s memorandum, which
anticipates “coordinat[ion] with the Governors of the States” in identifying and
ordering units of the National Guard into federal service.

        At present, law enforcement authorities from the City and County of Los
Angeles are safeguarding public safety, and, as demonstrated by the robust
law enforcement response yesterday evening to protect federal facilities, local
law enforcement resources are sufficient to maintain order. In dynamic and
fluid situations such as the one in Los Angeles, State and local authorities are the
most appropriate ones to evaluate the need for resources to safeguard life and
property. Indeed, the decision to deploy the National Guard, without
appropriate training or orders, risks seriously escalating the situation.

       There is currently no need for the National Guard to be deployed in Los
Angeles, and to do so in this unlawful manner and for such a lengthy period is a
serious breach of state sovereignty that seems intentionally designed to inflame
the situation, while simultaneously depriving the State from deploying these
personnel and resources where they are truly required. Accordingly, we ask that
you immediately rescind your order and return the National Guard to its rightful
control by the State of California, to be deployed as appropriate when
necessary.



       Sincerely,




       David Sapp
       Legal Affairs Secretary
       Office of Governor Gavin Newsom


cc.    California Attorney General Rob Bonta (via email only)




                                         2
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 69 of 129




                            EXHIBIT Q
                   Case 3:25-cv-04870-CRB                      Document 8-1               Filed 06/10/25             Page 70 of 129
  Los Angeles fires: Go to CA.gov/LAfires for latest information and resources




     News




 Jun 7, 2025




 Governor Gavin Newsom on speaking out
 peacefully

Los Angeles, California – Governor Gavin Newsom today issued the following statement in response to speaking
out peacefully on the federal government’s immigration actions:



  The federal government is taking over the California National Guard and deploying 2,000 soldiers in Los Angeles — not because there is a shortage of law
  enforcement, but because they want a spectacle.

  Don’t give them one.

  Never use violence. Speak out peacefully.

  Governor Gavin Newsom




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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 71 of 129




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                        @MayorOfLA
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                 This is a difficult time for our city. As we recover from an unprecedented
                 natural disaster, many in our community are feeling fear following recent                      Create account
                 federal immigration enforcement actions across Los Angeles County.
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                 Reports of unrest outside the city, including in Paramount, are deeply        Privacy Policy, including Cookie Use.

                 concerning. We’ve been in direct contact with officials in Washington,
                 D.C., and are working closely with law enforcement to find the best path
                 forward.

                 Everyone has the right to peacefully protest, but let me be clear: violence
                 and destruction are unacceptable, and those responsible will be held          Terms of Service |    Privacy Policy |   Cookie Policy |
                 accountable.                                                                  More       © 2025 X Corp.


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 NEWS ANALYSIS



 Trump Jumps at the Chance for a Confrontation
 in California Over Immigration
 The situation has all the elements that the president seeks: a showdown with a
 top political rival in a deep blue state over an issue core to his agenda.


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              By Tyler Pager
              Reporting from Washington

 June 8, 2025


 It is the fight President Trump had been waiting for, a showdown with a top
 political rival in a deep blue state over an issue core to his political agenda.

 In bypassing the authority of Gov. Gavin Newsom of California, a Democrat, to call
 in the National Guard to quell protests in the Los Angeles area over his
 administration’s efforts to deport more migrants, Mr. Trump is now pushing the
 boundaries of presidential authority and stoking criticism that he is inflaming the
 situation for political gain.

 Local and state authorities had not sought help in dealing with the scattered
 protests that erupted after an immigration raid on Friday in the garment district.
 But Mr. Trump and his top aides leaned into the confrontation with California
 leaders on Sunday, portraying the demonstrations as an existential threat to the
 country — setting in motion an aggressive federal response that in turn sparked
 new protests across the city.




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 As more demonstrators took to the streets, the president wrote on social media
 that Los Angeles was being “invaded and occupied” by “violent, insurrectionist
 mobs,” and directed three of his top cabinet officials to take any actions necessary
 to “liberate Los Angeles from the Migrant Invasion.”

 “Nobody’s going to spit on our police officers. Nobody’s going to spit on our
 military,” Mr. Trump told reporters as he headed to Camp David on Sunday,
 although it was unclear whether any such incidents had occurred. “That happens,
 they get hit very hard.”

 The president declined to say whether he planned to invoke the 1807 Insurrection
 Act, which allows for the use of federal troops on domestic soil to quell a rebellion.
 But either way, he added, “we’re going to have troops everywhere.”

 Stephen Miller, the White House deputy chief of staff, posted on social media that
 “this is a fight to save civilization.”

 Mr. Trump’s decision to deploy at least 2,000 members of the California National
 Guard is the latest example of his willingness and, at times, an eagerness to shatter
 norms to pursue his political goals and bypass limits on presidential power. The
 last president to send in the National Guard for a domestic operation without a
 request from the state’s governor, Lyndon B. Johnson, did so in 1965, to protect civil
 rights demonstrators in Alabama.




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     President Trump in New Jersey on Sunday. On social media, he, his aides and allies have sought to frame
     the demonstrations against immigration officials on their own terms. Haiyun Jiang for The New York Times



 But aides and allies of the president say the events unfolding in Los Angeles
 provide an almost perfect distillation of why Mr. Trump was elected in November.

 “It could not be clearer,” said Newt Gingrich, the former Republican House speaker
 and ally of the president who noted that Mr. Trump had been focused on
 immigration enforcement since 2015. “One side is for enforcing the law and
 protecting Americans, and the other side is for defending illegals and being on the
 side of the people who break the law.”

 Sporadic protests have occurred across the country in recent days as federal
 agents have descended on Los Angeles and other cities searching workplaces for
 undocumented immigrants, part of an expanded effort by the administration to
 ramp up the number of daily deportations.


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 On social media, Mr. Trump, his aides and allies have sought to frame the
 demonstrations against immigration officials on their own terms. They have
 shared images and videos of the most violent episodes — focusing particularly on
 examples of protesters lashing out at federal agents — even as many remained
 peaceful. Officials also zeroed in on demonstrators waving flags of other countries,
 including Mexico and El Salvador, as evidence of a foreign invasion.

 “Illegal criminal aliens and violent mobs have been committing arson, throwing
 rocks at vehicles, and attacking federal law enforcement for days,” wrote Karoline
 Leavitt, the White House press secretary.

 Mr. Newsom, whom the president refers to as “Newscum,” has long been a foil for
 Mr. Trump, who has repeatedly targeted California and its leader as emblematic of
 failures of the Democratic Party.

 “We expected this, we prepared for this,” Mr. Newsom said in a statement to The
 New York Times. “This is not surprising — for them to succeed, California must
 fail, and so they’re going to try everything in their tired playbook despite the
 evidence against them.”

 On Sunday, the governor sent a letter to Defense Secretary Pete Hegseth formally
 requesting that Mr. Trump rescind the call-up of the National Guard, saying federal
 actions were inflaming the situation. And on Monday, Mr. Newsom said California
 would file a lawsuit challenging the president’s order to federalize the state’s
 National Guard.

 He was echoed by other Democratic officials, who said the mounting
 demonstrations were the result of Mr. Trump’s own actions.

 The president and his aides “are masters of misinformation and disinformation,”
 Senator Alex Padilla of California, a Democrat, said in an interview. “They create a
 crisis of their own making and come in with all the theatrics and cruelty of
 immigration enforcement. They should not be surprised in a community like Los
 Angeles they will be met by demonstrators who are very passionate about
 standing up for fundamental rights and due process.”

https://www.nytimes.com/2025/06/08/us/politics/trump-california-immigration.html                                                   4/7
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 Republicans defended Mr. Trump’s moves, saying he was rightfully exercising his
 power to protect public safety.

 “The president is extremely concerned about the safety of federal officials in L.A.
 right now who have been subject to acts of violence and harassment and
 obstruction,” Representative Kevin Kiley, Republican of California, said in an
 interview.

 He added: “We are in this moment because of a series of reckless decisions by
 California’s political leaders, the aiding and abetting the open-border policies of
 President Biden.”

 Trump officials said on Sunday that they were ready to escalate their response
 even more, if necessary. Tom Homan, the president’s border czar, suggested in an
 interview with NBC News that the administration would arrest anyone, including
 public officials, who interfered with immigration enforcement activities, which he
 said would continue in California and across the country.




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                                                                                  California                Page
                                                                                             Over Immigration        79York
                                                                                                              - The New of Times
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     Protesters in Pasadena, Calif., on Sunday. Alex Welsh for The New York Times



 Mr. Trump appears to be deploying against California a similar playbook that he
 has used to punish universities, law firms and other institutions and individuals
 that he views as political adversaries.

 Last month, he threatened to strip “large scale” federal funding from California
 “maybe permanently” over the inclusion of transgender athletes in women’s
 sports. And in recent days, his administration said it would pull roughly $4 billion in
 federal funding for California’s high-speed train, which would further delay a
 project that has long been plagued by delays and funding shortages.

 “Everything he’s done to attack California or anybody he fears isn’t supportive of
 him is going to continue to be an obsession of his,” Mr. Padilla said. “He may think
 it plays smart for his base, but it’s actually been bad for the country.”



https://www.nytimes.com/2025/06/08/us/politics/trump-california-immigration.html                                                   6/7
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 White House officials said there was a different common denominator that explains
 Mr. Trump’s actions both against institutions like Harvard and immigration
 protests in Los Angeles.

 “For years Democrat-run cities and institutions have failed the American people,
 by both choice and incompetence,” Abigail Jackson, a White House spokeswoman,
 said in a statement.

 “In each instance,” she added, “the president took necessary action to protect
 Americans when Democrats refused.”

 Tyler Pager is a White House correspondent for The Times, covering President Trump and his administration.


 A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: Trump Leaps at Chance For
 Clash in California




https://www.nytimes.com/2025/06/08/us/politics/trump-california-immigration.html                                                          7/7
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 81 of 129




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                                   Case 3:25-cv-04870-CRB                                Document 8-1             Filed 06/10/25                     Page 82 of 129
  EVENT ENDED       Last updated June 9, 2025, 10:33 PM PDT



700 Marines will deploy as immigration protests continue
The state of California has sued the Trump administration for its activation of the state’s National Guard.




Updated June 9, 2025, 10:33 PM PDT

By NBC News

This liveblog has now ended.



        TROOPS IN L.A.: About 700 Marines from the Marine Corps base in Twentynine Palms, California, will deploy to Los Angeles to support the roughly 300 National Guard members already in
        the city to control protests against federal immigration raids, Defense Secretary Pete Hegseth said. President Donald Trump had earlier ordered the deployment of 2,000 troops in a move
        California Gov. Gavin Newsom criticized as inflammatory.

        HOW WE GOT HERE: Protests erupted after Immigration Customs Enforcement officers carried out raids Friday in three locations across Los Angeles, where dozens of people were taken
        into custody. Newsom called the raids “chaotic federal sweeps” that aimed to fill an “arbitrary arrest quota.”

        TRUMP VS. NEWSOM: “Border czar” Tom Homan threatened Newsom and Mayor Karen Bass with arrest if they impede troop deployment efforts. Newsom responded by saying: “Tom,
        arrest me. Let’s go.” Trump backed Homan’s threat, and Newsom called it “an unmistakable step toward authoritarianism.”

        CALIFORNIA SUES: Newsom and California Attorney General Rob Bonta sued Trump and Hegseth over the activation of the state’s National Guard, asking a court to declare the order
        unlawful.

        ARRESTS: At least 56 people were arrested this weekend as protesters were ordered to leave downtown and law enforcement shot “less-lethal” rounds. Demonstrators spilled out onto the
        101 Freeway, while others set fire to Waymo driverless cars.




6h ago / 10:33 PM PDT

‘There was a kind of a stampede of people,’ says man in L.A. protest
         Alicia Victoria Lozano
  Reporting from Los Angeles
Pau Castro said he was in a crowd of people in downtown Los Angeles’ Little Tokyo when, during what he characterized as a peaceful protest, “there was a bit of an exchange” with police.

“And all of a sudden, very quickly, there was a kind of stampede of people, and we were tear-gassed,” Castro, 27, said in the lobby of the building where he and others took shelter.

“And with the stampede of people, we were able to find a safe place in this lobby of an apartment building,” the Los Angeles resident said. “And immediately afterwards the police began charging
forward and shooting against the protesters.”
                                  Case 3:25-cv-04870-CRB                            Document 8-1                    Filed 06/10/25                     Page 83 of 129
Castro said the protest was peaceful but that a few people tried to escalate it, and others in the crowd tried to stop them.

He said water balloons were thrown, and then fireworks were set off, "and then it kind of all happened quickly."

“I’ve been to many protests, and it kind of always happens like this, you know?” Castro said. “It’s like everything is kind of contained, and then there’s this one spark, or the police decide, 'OK, enough
is enough. We’re charging forward.'”



7h ago / 10:04 PM PDT

Police push in line from Little Tokyo intersection, video shows
         Phil Helsel

News helicopter video from NBC Los Angeles showed a line of police advancing from 2nd and San Pedro streets as some protesters fled ahead of them.

Police are wearing riot helmets and other equipment. A very large number of police vehicles with lights flashing are stationed behind the officers, not moving, video showed.

Police have used a chemical irritant and flash-bang devices.




7h ago / 9:49 PM PDT

Police use tear gas and flash-bangs after declaring unlawful assembly
         Alicia Victoria Lozano
  Reporting from Los Angeles

An NBC News reporter was trapped in a building with other journalists after police declared an unlawful assembly in the Little Tokyo section of downtown and then used flash-bang devices and tear
gas on protesters.

Some demonstrators lingered amid the gas, while others screamed and ran. One woman tried to retrieve a water bottle from the street, and police shot a less-lethal round at her.

A news photographer with a different agency was also hit with tear gas, and water was used to flush his eyes.

Video from a helicopter showed a line of police in riot gear at an intersection and a small group of people farther down the street, dispersed between cars and on the sides of buildings.




8h ago / 9:27 PM PDT

Australian PM says he raised issue of injured journalist with U.S.
         Phil Helsel

Australian Prime Minister Anthony Albanese said he was “horrified” by video of Channel Nine journalist Lauren Tomasi being struck by a less-lethal round fired by police during protests in Los
Angeles.

Tomasi is clearly identified as a journalist and is clearly speaking into a microphone toward a camera when, video shows, an officer raises his weapon and fires from behind her. Tomasi then yells in
pain.

“In L.A., it is not unreasonable to think that she would not have been targeted with a rubber bullet,” Albanese said at the National Press Club of Australia, shown on Australia television. “It is not
unreasonable to think that she could go about her coverage, clearly, as people could see the footage, clearly identified as media.”

“And so we have already raised these issues with the U.S. administration. We don’t find it acceptable that it occurred,” he said. “And we think that the role of the media is particularly important.”

Albanese said Tomasi is doing well, "but that footage was horrific."




8h ago / 9:07 PM PDT

In L.A.'s downtown, a resident hopes for peace amid protest chaos around him
         Dennis Romero

For a fourth straight night, protesters have descended on downtown Los Angeles and clashed with authorities on the otherwise empty streets of a community known for its commuter life.

But the urban center of Los Angeles is home to an estimated 90,000 residents in historic lofts, converted single-room occupancy apartments and newer high-rise penthouses. Many are trying to
endure the daily action on the street.

Last night, protesters were on the street below Derek Mazzeo's residence in a roughly 100-year-old building that was redeveloped in the 2000s. Despite what he said was a solid job bringing the old
structure up to code, it shook as authorities faced off with protesters and fired off what sounded like percussive grenades.

"I heard explosions all night," Mazzeo, 36, said. "It was the most intense it's been since it started."

                                                                                                     SHOW MORE



8h ago / 8:52 PM PDT

Police fire flash-bang grenades at crowd of around 1,000
         Alicia Victoria Lozano
  Reporting from Los Angeles
Officers fired flash-bang grenades at a crowd of around 1,000 protesters in downtown Los Angeles.
                                  Case 3:25-cv-04870-CRB                         Document 8-1                       Filed 06/10/25                      Page 84 of 129
People in the crowd flew Mexican flags and at least two U.S. flags turned upside-down, a signal of distress.

Police continued to work to push the crowd back down the street after they advanced on protesters in the city’s Little Tokyo section.



9h ago / 8:29 PM PDT

Police fire pepper balls at crowd in downtown L.A.'s Little Tokyo
         Alicia Victoria Lozano
  Reporting from Los Angeles
Officers were seen firing pepper balls into a crowd that had roughly tripled in size at 2nd and San Pedro streets in Los Angeles.

The crowd was observed yelling, “Peaceful protest!” It was not immediately clear what prompted officers to fire. An irritant hung heavy in the air after the incident at around 8:15 p.m.

The intersection is in the Little Tokyo area of downtown Los Angeles, the cultural and historic hub of the city's Japanese community.




9h ago / 8:11 PM PDT

Authorities attacked reporters 27 times during L.A. protests, journalist groups say
         Dennis Romero

Authorities deployed to protests in Los Angeles since Friday have attacked journalists 27 times, the organization PEN America said, citing the Los Angeles Press Club and Reporters Without Borders.

PEN America joined 24 other organizations to decry the attacks, reported from Friday to Sunday, in a letter to Homeland Security Secretary Kristi Noem.

The letter focused on attacks by federal officers, who it said may have violated journalists' First Amendment rights, as well as federal case law that held that reporters have the right to record their
actions and may remain nearby even as dispersal orders are directed at protesters.

"Please immediately ensure that any federal officers or personnel, or anyone acting under their direction and control, refrain from any unlawful, indiscriminate, and excessive use of force against
members of the press and public who are merely covering events of public concern in the Los Angeles area," the letter says.

                                                                                                  SHOW MORE



9h ago / 7:38 PM PDT

Around 1,700 National Guard troops in greater Los Angeles, military says
         Courtney Kube

About 1,700 National Guard troops are on site in the greater Los Angeles area, and 700 Marines were activated to join them in their mission in Los Angeles, the military said in a statement.

The military task force is “protecting federal personnel and federal property in the greater Los Angeles area," said U.S. Northern Command, known as NORTHCOM.

Overall, there are 2,100 National Guard soldiers with the task force, called Task Force 51, along with the 700 Marines, the military said.

The city’s Democratic mayor and other officials, as well as Newsom, have condemned the deployment to Los Angeles.




9h ago / 7:31 PM PDT

'Border czar' says Newsom hasn't done anything to warrant arrest, after Trump says he should be arrested
         Zoë Richards

Trump's "border czar," Tom Homan, said he did not believe Newsom has done anything to warrant arrest after Trump suggested today that he should have Newsom arrested.

Asked in a CNN interview that aired tonight about Trump's comments and whether Newsom should face arrest, Homan responded: "Not at this time, absolutely not."

Newsom had dared Homan to arrest him. Responding to Newsom's challenge, Trump told reporters earlier today, "I would do it if I were Tom."

Homan also defended Trump's move to activate the National Guard, telling CNN host Kaitlan Collins that he thinks Trump "did exactly the right thing" and that Trump had not acted unlawfully.

"I certainly think the president is acting within the confines of the law," Homan said when he was asked about Trump's deploying the National Guard without Newsom's request.




10h ago / 7:02 PM PDT

         Gadi Schwartz
  Reporting from Los Angeles
                                 Case 3:25-cv-04870-CRB                           Document 8-1                       Filed 06/10/25                     Page 85 of 129
  Reporter falls back with dispersed L.A. protesters amid flash-bangs, tear gas
  04:58




Officials tried to disperse a crowd at anti-ICE protests downtown by firing tear gas and flash-bang devices.




10h ago / 6:57 PM PDT

Democratic Sen. Fetterman condemns protests, calling them 'anarchy and true chaos'
         Raquel Coronell Uribe

Sen. John Fetterman, D-Pa., called the protests in Los Angeles “anarchy and true chaos,” slamming his party for what he characterized as a refusal to condemn violent acts.

“I unapologetically stand for free speech, peaceful demonstrations, and immigration — but this is not that,” Fetterman wrote on X.

“My party loses the moral high ground when we refuse to condemn setting cars on fire, destroying buildings, and assaulting law enforcement,” he added.

The protests have been largely peaceful, and there have not been widespread reports of damage.

Fetterman’s response is in contrast to statements by other Democratic lawmakers. Senate Minority Leader Chuck Schumer, D-N.Y., condemned the Trump administration’s response, in which Trump
ordered the National Guard to the city, calling it “unnecessary, inflammatory, and provocative” in a statement today.




10h ago / 6:30 PM PDT

‘Stop the raids,' L.A. mayor pleads with feds
         Phil Helsel

Bass ended a news conference this evening by asking the federal government to stop conducting immigration raids in the city, saying they are creating chaos and are unnecessary.

Bass said that in some cases families are showing up for their scheduled appointments with ICE as they are supposed to and then being detained and that day laborers are being targeted.

Bass said there have been five raids in the LA region, but she did not know all the details.

“I am hopeful that the federal government will hear our plea: Stop the raids,” Bass said. “This is creating fear and chaos in our city, and it is unnecessary.”

"And I hope that we will be heard, because our city is trying to move forward,” she continued. “And I believe that the federal government should be supportive of us moving forward.”

The protests erupted after federal raids Friday.




11h ago / 6:23 PM PDT

Authorities fire less-lethal weapons from rooftop
                Alicia Victoria Lozano and Dennis Romero

The situation grew tense in downtown Los Angeles this evening as less-lethal rounds were launched from the rooftop of the Edward R. Roybal Federal Building and police moved in to secure the area.
                          Case 3:25-cv-04870-CRB                                  Document 8-1                      Filed 06/10/25                      Page 86 of 129
Authorities in fatigues were seen firing from the rooftop. It wasn't clear which agency opened fire, but the Los Angeles Police Department's Central Division noted that officers in the area are
authorized to use less-lethal weapons.

The division, which patrols downtown, said on X that troublemakers were throwing objects at officers at Los Angeles and Temple streets, adjacent to the federal building.

The situation seemed to darken as more law enforcement agents and officers moved into the area, agitating some protesters.

Police formed a line blocking the steps of City Hall nearby.

Some protesters were trapped on Los Angeles Street near the Los Angeles Mall as police shut down movement from the area. They also closed Temple Street, which runs east-west past the federal
building.



11h ago / 6:18 PM PDT

L.A. mayor warns fed heavy-handedness may be ‘test case’ by Trump
         Phil Helsel

Bass said tonight that the immigration raids last week that set off the protests in the city were unnecessary and that they targeted people like day laborers at a Home Depot, not the criminals the
Trump administration claimed would be prioritized.

“Nothing warranted the raids,” Bass said. “If you remember at the beginning of this administration, we were told that raids would be to look for violent criminals, people who have warrants.”

“But I don’t know how you go from a drug dealer to a Home Depot, to people’s workplaces where they’re just trying to make a living,” she said.


  L.A. mayor suggests city may be a 'test case' for increased federal authority
  02:33




Bass said the Trump administration could be using Los Angeles to see how far federal agents can go.

“These are not the people that we were told were going to be detained,” she said. “And it makes me feel like our city is actually a test case — a test case for what happens when the federal government
moves in and takes the authority away from the state or away from local government."




11h ago / 6:14 PM PDT

LAPD chief 'very concerned' about reporter struck by less-lethal round
         Dennis Romero

Police Chief McDonnell said today that he's "very concerned" after an officer fired a less-lethal round that struck a journalist during protests downtown last night.

Lauren Tomasi, a correspondent with Australia’s Channel Nine, was broadcasting live when she was struck in the leg by what the LAPD described as a foam projectile fired from a 40 mm launcher.

In video of the use of force, a police officer is seen turning toward Tomasi and firing a round in her direction. Tomasi yells and stumbles to reach for her leg. She later told Nine News Australia that she
was “safe.”

Police are trained to aim at the belt line of anyone targeted with less-lethal arounds, including the foam projectiles and bean bag rounds. However, the department has agreed in the past — including
after the 2007 "Mayday melee," in which officers injured multiple reporters and protesters at a pro-immigrant rally — not to target journalists who are working and covering action from a reasonable
distance.
                                 Case 3:25-cv-04870-CRB                           Document 8-1                        Filed 06/10/25                     Page 87 of 129
McDonnell said the department is looking into the incident.



11h ago / 6:00 PM PDT

There will be ‘many more’ arrests in coming days, LAPD chief says
         Phil Helsel

Police Chief Jim McDonnell warned tonight that anyone committing violence or vandalism during protests will be arrested and said investigators will make more arrests connected to past incidents.

“There is no tolerance for criminal activity under the guise of protest,” McDonnell said at a news conference.

Around 60 people were arrested in the unrest over the weekend, officials said. McDonnell said he “wouldn’t argue” that relatively few people have been arrested thus far, but he said numbers are
expected to grow as investigations continue.

“There will be many more subsequent arrests," he he said.

McDonnell also said the Trump administration’s deployment of federal troops without direct coordination causes logistical problems “and risks confusion during critical incidents.”

He said that the LAPD has decades of experience with large-scale protests and that he is confident the police department can respond to the current demonstrations professionally and effectively.




11h ago / 5:43 PM PDT

Police fire less-lethal rounds in faceoff with protesters in center of L.A.
                Sossy Dombourian and Dennis Romero

Protesters in the middle of an intersection faced off with law enforcement officers who used less-lethal rounds in an attempt to disperse the crowd today.

The sound of small explosions and popping from officers' less-lethal launchers could be heard as protesters began to retreat from the intersection of Los Angeles and Temple streets near the Edward R.
Roybal Federal Building. A handful had been observed throwing objects at officers.

Some protesters ran, while others put up their hands, some holding up two fingers in a seeming sign of peace.

Police declared an unlawful assembly in the area, meaning anyone who remains can be arrested. Officers were seen lined up, pushing the crowd back.




11h ago / 5:30 PM PDT

National Guard deployment is illegal and could hinder wildfire prevention, California AG says
         Raquel Coronell Uribe

California Attorney General Rob Bonta said that the state’s position is clear and that state officials believe Trump’s decision to federalize the National Guard was unlawful.

“The California National Guard is a joint operation, and the commander-in-chief, most of the time, is the governor of California,” Bonta said on MSNBC, adding that only in cases of “rare and
infrequent” conditions like rebellions or invasions can the president deploy the National Guard.

“The president can do many lawful things, but he cannot do unlawful things, and what he has tried to do here is exercise authority he doesn’t have,” Bonta said.

He added that Trump federalized the guard as wildfire season in California is in full swing and that the state’s troops, who are trained to combat wildfires, are pulled away from that mission.

“What the Trump administration has done here is unnecessary. It’s not constructive. It’s harmful. It has only led to inflame tensions and provoke, as opposed to calm and create peace. And most
importantly, it’s unlawful,” Bonta said.




12h ago / 5:20 PM PDT

Burning electric vehicles hard to extinguish during protests, fire department says
         Phil Helsel

Electric vehicles were left to burn in the Los Angeles unrest in some cases because their batteries are hard to reach with water and take a lot of it, a spokesperson for the fire department said today.

The fire department responded to “multiple vehicle fires” during this weekend’s unrest, Public Information Officer Erik Scott said in a video on X. Among the vehicles that were torched were Waymo
autonomous electric vehicles, video showed.

“Due to the design of EV battery systems, it’s often difficult to apply the water directly to the burning cells, especially in a chaotic environment, and in some cases, allowing the fire to burn is the safest
tactic,” Scott said.

It also requires a large amount of water, Scott said, and the runoff must be managed.

The lithium-ion batteries in electric vehicles become dangerous when they are burned, he said, including releasing highly toxic hydrogen fluoride gas — dangerous to the lungs when it is breathed in
and able to be absorbed through the skin.

It can cause “serious internal harm,” Scott said.




12h ago / 4:58 PM PDT

ACLU says Marines aren't trained to police protests
         Phil Helsel
                               Case 3:25-cv-04870-CRB                           Document 8-1                       Filed 06/10/25                     Page 88 of 129
The American Civil Liberties Union today called the deployment of active-duty troops an unnecessary escalation and a move by the Trump administration that raises serious constitutional concerns.

“Every move President Trump has made since Saturday night has been escalatory and inflammatory,” Hina Shamsi, director of the National Security Project at the ACLU, said in a statement.

“The idea that these Marines have anywhere near the kind of training required to police protests while respecting people’s constitutional rights would be laughable if the situation weren’t so
alarming,” Shamsi said.

“From the get-go, the Trump administration’s deployment of troops into the streets of California, over the governor’s objection, has raised serious constitutional concerns,” Shamsi said. “This latest
move only increases legal and ethical jeopardy for troops, and further endangers the rights of the people of Los Angeles.”




12h ago / 4:48 PM PDT

LAPD got no formal notice Marines would be deployed, chief says
         Andrew Blankstein

Police Chief Jim McDonnell said today his agency has not received any formal notice that Marines would be deployed in Los Angeles, but he said the police force has the experience when it comes to
large protests.

“The LAPD has not received any formal notification that the Marines will be arriving in Los Angeles. However, the possible arrival of federal military forces in Los Angeles absent clear coordination
presents a significant logistical and operational challenge for those of us charged with safeguarding this city,” McDonnell said in a statement.

“The Los Angeles Police Department, alongside our mutual aid partners, have decades of experience managing large-scale public demonstrations, and we remain confident in our ability to do so
professionally and effectively,” he said.

McDonnell said his agency's priority is public and officer safety, and he urged "open and continuous lines of communication between all agencies to prevent confusion, avoid escalation, and ensure a
coordinated, lawful, and orderly response during this critical time."




12h ago / 4:39 PM PDT

Hegseth makes it official: Marines deploying to L.A.
                Mosheh Gains and Dennis Romero

Hegseth made the deployment of Marines to Los Angeles official, saying on X that the 700 Marines mobilized to Camp Pendleton will be sent to defend federal resources.

"Due to increased threats to federal law enforcement officers and federal buildings, approximately 700 active-duty U.S. Marines from Camp Pendleton are being deployed to Los Angeles to restore
order," he said.

U.S. Northern Command said in an earlier statement that the Marines would come from the Marine Corps Air Ground Combat Center and were being sent to Camp Pendleton in San Diego County
before probable deployment.

Twentynine Palms, in the California desert, is about 140 miles east of downtown Los Angeles. Camp Pendleton, which has its main address in Oceanside, is about 90 miles south of downtown L.A.

Two Defense Department sources said the process of mobilizing — moving troops from Twentynine Palms to Oceanside, a distance of about 147 miles — would begin tonight.

Hegseth said the troops will defend federal agents amid protests in Los Angeles over immigration raids.

"We have an obligation to defend federal law enforcement officers — even if Gavin Newsom will not," he said.




12h ago / 4:36 PM PDT

California suit against use of troops: ‘People are governed by civil, not military, rule’
         Phil Helsel

California’s attorney general has filed a promised lawsuit challenging the Trump administration’s deployment of military troops in Los Angeles following protests and unrest.

The suit says that Trump exceeded his lawful authority and that he “used a protest that local authorities had under control to make another unprecedented power grab.”

Newsom is the legal commander-in-chief of the state’s National Guard, the suit argues, and he did not request their use. In fact, Newsom has criticized Trump’s ordered of troops as an attempt to
“manufacture a crisis.”

The lawsuit says that under the legal statute, “when the President calls members of a State National Guard into federal service pursuant to that statute, those orders 'shall be issued through the
governors of the States.'"

“Instead, Secretary Hegseth unlawfully bypassed the Governor of California, issuing an order that by statute must go through him,” Bonta wrote in the suit.

Bonta also argued that Trump’s action “contravenes core statutory and constitutional restrictions.”

“One of the cornerstones of our Nation and our democracy is that our people are governed by civil, not military, rule. The Founders enshrined these principles in our Constitution,” Bonta wrote.




13h ago / 4:25 PM PDT

Newsom says Trump is deploying another 2,000 National Guard troops to L.A.
         Phil Helsel

Newsom said this afternoon that Trump is deploying 2,000 more National Guard troops to Los Angeles, on top of an initial 2,000.

"I was just informed Trump is deploying another 2,000 Guard troops to L.A.," he said on X.
                                  Case 3:25-cv-04870-CRB                           Document 8-1                        Filed 06/10/25                         Page 89 of 129
"The first 2,000? Given no food or water. Only approx. 300 are deployed — the rest are sitting, unused, in federal buildings without orders," Newsom wrote.

"This isn’t about public safety. It’s about stroking a dangerous President’s ego," he continued. "This is Reckless. Pointless. And Disrespectful to our troops."

California's attorney general today filed a lawsuit challenging Trump's deployment of National Guard troops to Los Angeles, calling it an unprecedented power grab that exceeds his authority.

Newsom has accused Trump of using the National Guard "to manufacture a crisis."



13h ago / 4:11 PM PDT

One voice in the crowd urges protesters not to 'give Donald Trump what he wants'
         Alicia Victoria Lozano

Amid the protesters outside the Edward R. Roybal Federal Building in downtown Los Angeles today was a voice calling for peace.

Najee Gow, 27, is a Los Angeles resident from Portland, Oregon, who was at that city's raucous 2020 protests that emerged from the police murder of George Floyd in Minneapolis that spring.

Using a handheld loudspeaker, Gow urged fellow protesters today to remain peaceful and not "give Donald Trump what he wants."

Gow said protesters who turn to violence and vandalism feed Trump's strategy to paint Los Angeles as a city of crime while bolstering his use of the National Guard and, possibly, Marines to protect
federal assets in the region.

Gow noted that Trump administration officials have threatened to arrest Newsom.

"I don't know what will happen if Marines set foot in L.A.," Gow said. "You know, like, if you arrest the governor, if you arrest the mayor, that is a decline of democracy, that is a dictatorship."




13h ago / 3:58 PM PDT

Hakeem Jeffries: Trump and Republicans have ‘zero credibility’ on law and order
         Phil Helsel

House Minority Leader Hakeem Jeffries said today that Trump and the current Republican Party have “zero credibility” on law-and-order issues and are “intentionally trying to inflame” the situation.

Jeffries, D-N.Y., said that he supports the right of Americans to peacefully protest and that local authorities should hold those who engage in violence accountable.

Jeffries said Bass and Newsom are “managing a fragile situation that Donald Trump and the extreme MAGA Republicans are intentionally trying to inflame.”

                                                                                                   SHOW MORE



13h ago / 3:55 PM PDT

All 'uniformed officers' to stay on duty as LAPD declares 'tactical alert'
         Phil Helsel

The LAPD’s Central Division, which covers downtown, declared a tactical alert shortly after 3 p.m.

“The City of Los Angeles has declared a Tactical Alert. All uniformed personnel are to remain on duty,” is said on X.

A tactical alert allows supervisors to keep officers past their shifts and maintain high levels of staffing in the event of emergencies or large incidents.




13h ago / 3:48 PM PDT

'Not on our watch': L.A. public schools plan to protect undocumented families at graduations
         Helen Jeong, NBC Los Angeles

Ahead of the roughly 100 graduation ceremonies today and tomorrow, the Los Angeles Unified School District is carrying out plans to protect its estimated 7,500 undocumented students and their
families amid ongoing federal immigration raids in Los Angeles and beyond, according to United Teachers Los Angeles, an LAUSD teachers’ union.

Superintendent Alberto Carvahlo said that security perimeters will be set up at every graduation site and that buses and bus sites are included in security plans.

“Every single graduation site is a protected site,” Carvalho said. “Any federal agency [that] may want to take action during these joyous times that we call graduation — not on our watch.”

United Teachers Los Angeles, the teachers union for the second-largest public school district in the country, says about 1 in 4 of the district's 30,000 immigrant students are undocumented.

Read the full story here.




13h ago / 3:41 PM PDT

Gov. Newsom says using military in L.A. is 'dictatorial'
         Dennis Romero

Newsom continued a bitter back-and-forth with Trump today after U.S. Marines were mobilized in anticipation of duty in Los Angeles amid the region's ongoing protests.

Newsom said using Marines amid free speech displays by Americans on U.S. soil is "un-American."

"U.S. Marines have served honorably across multiple wars in defense of democracy," Newsom said. "They are heroes."
                               Case 3:25-cv-04870-CRB                             Document 8-1                       Filed 06/10/25                  Page 90 of 129
The mission in Los Angeles, should Marines be deployed, would be to protect federal personnel and resources, two Defense Department sources said. Under federal law, they would be prohibited
from making arrests.

Still, using U.S. forces for a domestic situation is rare.

"They shouldn’t be deployed on American soil facing their own countrymen to fulfill the deranged fantasy of a dictatorial President," Newsom said on X this afternoon.

"This is un-American," he said.



13h ago / 3:30 PM PDT

'My message to ICE is: Leave us alone,' pastor says at L.A. march
         Liz Kreutz
  Reporting from Los Angeles
Marching with protesters in Los Angeles today, Pastor Lucia Chappelle at Founders Metropolitan Community Church in Los Angeles said her message was a simple one.

"My message to ICE is: Leave us alone," she said, using a walker to join the crowd.

"I mean, you're talking about family people, you're talking about my neighbors, you're talking about people who have not hurt anyone — not hurt anyone," she said.

Chappelle also said the reality of Los Angeles, which has many immigrants, does not match the rhetoric of an "invasion" that is being spread.

"You can see we're not a mass of invading, marauding immigrants tearing up the city," she said. "We're people building this city — all of us are."




14h ago / 3:10 PM PDT

Marines mobilize to Camp Pendleton in anticipation of L.A. deployment
                Courtney Kube and Dennis Romero

An estimated 700 Marines are being mobilized, moving from Marine Corps Air Ground Combat Center in Twentynine Palms, about 140 miles east of Los Angeles, to Camp Pendleton in San Diego
County, defense sources said.

The mobilization will put the troops closer to Los Angeles, where they could be deployed alongside National Guard troops to protect federal resources and personnel, two Defense Department sources
said.

Marine Corps Base Camp Pendleton, with its main address in Oceanside, is about 90 miles south of downtown Los Angeles.

                                                                                                  SHOW MORE



14h ago / 3:05 PM PDT

Protesters gather at historic site where L.A. was founded
         Dennis Romero

A few hundred peaceful protesters gathered today at Olvera Street, part of El Pueblo de Los Angeles Historical Monument, commemorated as the site where Los Angeles was founded.

The location emits a symbolism, no doubt, in the minds of some protesters, attaching history to contemporary demographics that have Los Angeles County roughly one-half Latino and three-fourths
people of color.

The city's Latino roots reach to Olvera Street, where in 1769 Gaspar de Portola led a Spanish expedition north from San Diego and found an ideal place for a settlement.

Father Juan Crespi, who documented the expedition, described the location, now on the National Register of Historic Places, as the men "entered a very spacious valley, well-grown with cottonwood
and alders, among which ran a beautiful river."

                                                                                                  SHOW MORE



14h ago / 2:56 PM PDT

Labor leader David Huerta released on $50K bond
         Tyler Kingkade
  Reporting from Los Angeles
David Huerta, president of the California chapter of the Service Employees International Union, was released from federal custody on a $50,000 bond this afternoon after his first court appearance.

Huerta faces a federal charge of conspiracy to impede an officer, a felony, stemming from Friday's immigration raids.

The charges were not discussed during the hearing, and the court did not ask him to enter a plea.

A criminal complaint alleges that Huerta arrived on the scene of an immigration enforcement operation and, according to an undercover officer in the crowd, directed people to picket to prevent law
enforcement vehicles from entering the property of a clothing warehouse.

Huerta later stood in front of a van to block it, and he was arrested after an officer tried to physically move him out of the way.

The SEIU said in a statement that Huerta was "peacefully bearing witness to a ruthless raid" when he was arrested.

                                                                                                  SHOW MORE
                                 Case 3:25-cv-04870-CRB                            Document 8-1                     Filed 06/10/25                    Page 91 of 129
14h ago / 2:44 PM PDT

Newark Mayor Ras Baraka slams Trump’s National Guard decision as ‘dangerous’
        +2 Julie Tsirkin, Olympia Sonnier and Bridget Bowman
  Reporting from Newark, N.J.
Newark, New Jersey, Mayor Ras Baraka said today that Trump’s decision to federalize California’s National Guard troops is “really dangerous.”

Baraka, who is running for governor of New Jersey, said he agreed with Newsom’s objection to activating the state’s National Guard to respond to protests in Los Angeles.

“They are putting troops on the ground in these cities, and this is something that you don’t do, right?” Baraka told NBC News on the eve of the state’s gubernatorial primary, in which he is one of six
candidates for the Democratic nomination.

“In 1967, we experienced serious riots, rebellion from the National Guard being here on the street. People were shot in the street, shot in their buildings, lives were lost, property was destroyed,”
Baraka added later. “So it’s just a really dangerous thing to do. And you really never get over that.”

                                                                                                    SHOW MORE



14h ago / 2:33 PM PDT

Newsom's office criticizes mobilization of Marines
         Dennis Romero

Newsom's press office called the mobilization of U.S. Marines, an estimated 700 of whom are being moved to L.A. to support National Guard troops, "completely unwarranted."

"The level of escalation is completely unwarranted, uncalled for, and unprecedented," the office said on X.

The governor's office characterized the move as "mobilizing the best in class branch of the U.S. military against its own citizens."

It made a distinction between mobilizing the troops and deploying them, saying Marines are not being deployed but will be moved to L.A., where raucous protests over immigration enforcement have
been ongoing since the weekend.

Deployment would be a final step in putting troops on the streets, as two sources in the U.S. Department of Defense said, to protect federal personnel and resources amid the protests.




14h ago / 2:29 PM PDT

Rabbi at Los Angeles protest calls ICE raids 'dehumanizing'
         NBC News




15h ago / 2:27 PM PDT

Los Angeles protester: ‘Families are being torn apart’
                 Morgan Chesky and Daniella Silva

A protester at a pro-union rally for immigrants said he showed up to send the message that families should not be "torn apart" by the ICE raids in Los Angeles and that "workers can go to work every
day and not fear that they’re not gonna be able to see their families at the end of the day.”

“I think it improves us all to come out here today, to come out tomorrow and the next day to show a peaceful front, and to make sure that the right story that’s out there is that these families are being
torn apart, and that this should stop, that ICE needs to leave, that the National Guard should stand down, and that we need to be able to be supporting our immigrant families and those communities,”
Victor Sanchez, the executive director of the Los Angeles Alliance for a New Economy, told NBC News.

Sanchez, who is a native of Los Angeles and comes from an immigrant family, said watching the events of the last 72 hours in his city has been “heart-wrenching.”

“I think this is probably the start of a groundswell of activism and mobilization on behalf of the community and the moral imperative is here. I think people are standing up and are saying, ‘enough is
enough,’” he said. “We have to continue to show up, not just for the larger context in terms of what we’re suffering with this administration, but for these families that are being locked up and
deported without due process.”




15h ago / 2:06 PM PDT

Immigration arrests are way up and ICE detention facilities are full
                 Laura Strickler and Dennis Romero

New data from U.S. Immigration and Customs Enforcement shows immigration enforcement efforts, including arrests of those believed to be in the United States illegally, are up significantly.

ICE detention facilities are at capacity, even as the number of detainees is expected to grow. The U.S. Department of Homeland Security says ICE arrested more than 2,000 people each day for much
of last week.

The number of people in detention is now at 51,302, which is 30% higher than it was at the beginning of President Donald Trump's administration. ICE is funded to hold 41,500 detainees.

In May, there were 28,797 people booked into ICE facilities, the highest number since the second Trump Administration began. During the last two weeks of May, a total of 15,020 were held at ICE
facilities. This figure represents people who were arrested by ICE or U.S. Customs and Border Protection.

ICE is using 44% more detention facilities, 155 in all, since the last days of President Joe Biden's term.

Of those in ICE detention, 56%, or 28,864, have criminal backgrounds, meaning they have either been convicted of a crime or have pending criminal charges, according to the data. The remaining
22,438 do not have criminal histories.
                               Case 3:25-cv-04870-CRB                            Document 8-1                       Filed 06/10/25                     Page 92 of 129
The Adelanto ICE Processing Center is the main ICE facility for the Los Angeles area and currently has 140 detainees, the data show. At the start of the Trump administration, it had just three
detainees.



15h ago / 1:52 PM PDT

U.S. Marines tasked with defense of federal property
                Courtney Kube and Mosheh Gains

U.S. Marine Corps troops mobilized in Los Angeles will be tasked with defending federal property and personnel, two U.S. Department of Defense officials said.

An estimated 700 Marines from the U.S. Marine Corps Air Ground Combat Center in Twentynine Palms have been mobilized to assist National Guard troops and law enforcement in Los Angeles amid
ongoing protests.

Twentynine Palms is in the desert, about 140 miles east of L.A.

According to the officials, the Marines will operate under three rules of force: self defense, defense of federal property and defense of federal personnel.

Those are the same rules of force for National Guard troops deployed under Trump's executive order in Los Angeles, where raucous protests have been ongoing.




16h ago / 1:25 PM PDT

700 U.S. Marines mobilized to support National Guard
                Courtney Kube and Dennis Romero

Approximately 700 U.S. Marines have been mobilized to support the National Guard in protecting federal personnel and property in Los Angeles, according to two Department of Defense officials.

The troops are from the U.S. Marine Corps Air Ground Combat Center Twentynine Palms, which is in the desert about 140 miles east of Los Angeles.

The mobilization is temporary until more California National Guard troops arrive to L.A., the officials said.

Mobilization is separate from full deployment, so it's not clear if the Marine Corps troops will hit the streets of L.A. immediately or remain on standby.

President Donald Trump authorized the deployment of California National Guard troops to protect federal law enforcement as protesters angry over immigration raids hit the streets over the
weekend.




16h ago / 1:03 PM PDT

JD Vance tells Newsom to 'do your job'
         NBC News




16h ago / 12:44 PM PDT

Crane removes charred Waymo vehicle
         Matt Nighswander
                               Case 3:25-cv-04870-CRB                            Document 8-1                       Filed 06/10/25                     Page 93 of 129




           Frederic J. Brown / AFP - Getty Images




A work crew removes a charred driverless Waymo vehicle today that was burned during last night's protests. Waymo began offering robotaxi rides across 80-plus square miles of Los Angeles County
last year.




17h ago / 12:21 PM PDT

L.A. mayor says Trump created a crisis
         NBC News




17h ago / 12:19 PM PDT

Trump calls ICE raid protesters 'insurrectionists'
         Marlene Lenthang

Trump wrote on Truth Social today, "If they spit, we will hit" while addressing ICE protests in Los Angeles and called the protesters "insurrectionists."

"The Insurrectionists have a tendency to spit in the face of the National Guardsmen/women, and others. These Patriots are told to accept this, it’s just the way life runs. But not in the Trump
Administration," he wrote. "IF THEY SPIT, WE WILL HIT, and I promise you they will be hit harder than they have ever been hit before. Such disrespect will not be tolerated!"




17h ago / 12:13 PM PDT

Families describe emotional toll of detainments outside clothing warehouse
         Tyler Kingkade
  Reporting from Los Angeles
At a rally outside the Ambiance clothing warehouse in L.A., around two dozen family members of people who were detained there Friday held signs with photos of their loved ones. One sign read,
"Dad, Come Back Home :("

Several described the toll the arrests have taken on their families.
                      Case 3:25-cv-04870-CRB                                   Document 8-1                     Filed 06/10/25                     Page 94 of 129
A person who identified himself as Gabriel said his brother, Paco Vasquez, was detained in the raid. Because Vasquez was his household's sole breadwinner, his family doesn't know how it will cover
expenses, such as rent and bills.

A woman named Julian said her father, Mario Romero, was arrested, but her family has avoided telling her 4-year-old brother, who has autism and struggles to communicate.

“He’s asked about his father,” she said, “in which we have responded that he’s working.”

At least four people said they had not received updates from immigration authorities or been able to communicate with their detained loved ones.

Jerónimo Martínez, 39, said in an interview, through an interpreter, that he is worried about his nephew, Lázaro Maldonado, because the family hasn’t had any communication with him since Friday.
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 95 of 129
                             Case 3:25-cv-04870-CRB                                    Document 8-1                 Filed 06/10/25                   Page 96 of 129

        An unidentified woman speaks outside Ambiance Apparel in Los Angeles today.   Tyler Kingkade / NBC News




“We don’t know if they’re OK," Martínez said. "We don’t know where they are.”



17h ago / 11:45 AM PDT

California AG says Trump has no grounds to arrest Newsom
         Marlene Lenthang

When asked whether the Trump administration can legally arrest Gov. Gavin Newsom if the federal government sees him as impeding ICE efforts, California Attorney General Rob Bonta said, “It’s just
more talk, more bluff, more bluster, more threats.”

“States have rights. States could do lawful things,” Bonta told reporters today in announcing the state's lawsuit against the Trump administration. “It is the president and the Trump administration that
is consistently and frequently blatantly and brazenly violating the law, not Gov. Newsom.”

Earlier today, Trump said Newsom should perhaps be arrested after the governor dared Trump’s border czar Tom Homan to do so.




18h ago / 11:26 AM PDT

Police in Portland, Oregon, make some arrests during weekend ICE protests
         Daniella Silva

Los Angeles isn't the only U.S. city where anti-ICE protests have been taking place. The Portland Police Bureau in Oregon said in a statement today that officers responded to “safety concerns and
protest activity” around the ICE facility there Saturday and yesterday.

Some of the protests were peaceful and others included arrests, the bureau said.

Police responded yesterday to the area following a report of people on private property next to the ICE building. The crowd cooperated, moving to a nearby sidewalk and no arrests were made
regarding that protest, the statement said.

One person was arrested after an officer recognized the woman as someone who had a warrant for an assault, the statement said.

                                                                                                        SHOW MORE



18h ago / 11:14 AM PDT

California to sue Trump administration
        +2 Jacob Soboroff, Gary Grumbach and Marlene Lenthang
California Attorney General Rob Bonta and Gov. Gavin Newsom said they will file a lawsuit today against Trump and Defense Secretary Pete Hegseth over the activation of the state's National Guard.

The Defense Department, under Trump's orders, redirected hundreds of National Guard troops from San Diego to Los Angeles without the governor’s authorization and against the wishes of local law
enforcement, the attorney general’s office said in a news release.

The lawsuit will ask the court to declare the order unlawful because it “exceeds the federal government’s authorities under the law and violates the Tenth Amendment.”

The move came as ICE had conducted multiple immigration raids in downtown Los Angeles the two days prior that were met with multiple protests. The release said by the time the National Guard
arrived yesterday morning, the protests had dissipated, but their arrival reignited tensions.

The Defense Department “intends to deploy 2,000 troops from across the state, an inflammatory escalation unsupported by conditions on the ground,” the release said.

                                                                                                        SHOW MORE



18h ago / 11:08 AM PDT

When have other presidents federalized the National Guard?
         Megan Lebowitz

A president ordering the National Guard under federal command over objections from a state’s governor is historically rare.

“It’s highly, highly unusual and really outside our constitutional norms and traditions,” said Laura Dickinson, a law professor at George Washington University.

Other presidents have federalized the National Guard during civil unrest.

President George H.W. Bush used the Insurrection Act to mobilize troops in Los Angeles during the 1992 riots when police officers accused of beating Rodney King were found not guilty.

Presidents also federalized the National Guard to respond to protests and riots in the late 1960s and 1970, according to military documents. Earlier, presidents federalized the National Guard to enforce
desegregation efforts in the 1950s and '60s.

                                                                                                        SHOW MORE



19h ago / 10:16 AM PDT

‘Unmistakable step toward authoritarianism’: Newsom responds to Trump saying he should be arrested
                               Case 3:25-cv-04870-CRB                            Document 8-1                      Filed 06/10/25                     Page 97 of 129
         Rebecca Shabad

Newsom responded in a post on X to Trump saying the Democratic governor should be arrested after Newsom dared border czar Tom Homan to do it.

"The President of the United States just called for the arrest of a sitting Governor," Newsom wrote.

"This is a day I hoped I would never see in America," he continued. "I don’t care if you’re a Democrat or a Republican this is a line we cannot cross as a nation — this is an unmistakable step toward
authoritarianism."




19h ago / 10:01 AM PDT

Trump says Homan should have Newsom arrested
         Rebecca Shabad

Trump said in brief remarks to reporters today that maybe Gavin Newsom should be arrested after the Democratic governor dared Trump's border czar Tom Homan to do so.

"I would do it if I were Tom," Trump said after landing back at the White House when asked about Newsom's dare. "I like Gavin Newsom ... he's a nice guy, but he's grossly incompetent."

Asked to describe the people protesting in L.A., Trump said the people who are causing the problems are "professional agitators" and "insurrectionists."




19h ago / 9:55 AM PDT

SEIU president David Huerta charged
                Lindsay Good and Marlene Lenthang

David Huerta, president of the Service Employees International Union California, who was arrested during ICE protests in Los Angeles on Friday, has been federally charged with felony conspiracy to
impede an officer.

The felony charge carries a statutory maximum sentence of six years in federal prison. He’s currently in federal custody at the Metropolitan Detention Center in Los Angeles.

His initial appearance is set for today at 1:20 p.m. PT.

The SEIU said that Huerta, an American citizen and Los Angeles native, was injured and detained Friday as he was peacefully observing an ICE raid.

He was hospitalized for his injury and taken into custody. Mayor Karen Bass told NBC Los Angeles that Huerta was pepper-sprayed.
                               Case 3:25-cv-04870-CRB                            Document 8-1                       Filed 06/10/25                 Page 98 of 129
        David Huerta, president of SEIU California. Ringo Chiu / AP file




19h ago / 9:48 AM PDT

Schumer calls on Trump to 'revoke his command' for the National Guard
                Frank Thorp V and Megan Lebowitz

Senate Minority Leader Chuck Schumer, D-N.Y., slammed Trump's order to deploy the National Guard as "unnecessary, inflammatory, and provocative."

"Trump should immediately revoke his command to use the National Guard, and leave the law enforcement to the governor and the mayor, who are more than capable of handling the situation,"
Schumer said in a statement. "Americans do not need or deserve this unnecessary and provocative chaos.”

Democrats have repeatedly criticized Trump's response to the protests along similar lines as Schumer, framing the White House as trying to escalate the situation.




19h ago / 9:47 AM PDT

Trump frames National Guard decision as 'a great decision'
         Megan Lebowitz

Trump said in a post on Truth Social that "we made a great decision in sending the National Guard" to respond to the protests in Los Angeles, claiming that the city would have otherwise "been
completely obliterated."

He criticized Newsom and Bass, saying that they should have been telling the president that "you are so wonderful" and "we would be nothing without you."

Democrats have consistently criticized Trump ordering the National Guard to deploy, arguing that it escalated the situation. Newsom had objected to Trump sending the National Guard.




19h ago / 9:33 AM PDT

Protesters plan more demonstrations today
         Daniella Silva

Immigration protests were planned today after dozens of people were arrested over the weekend.

Here are some of the demonstrations planned today, all Pacific time:

9 a.m. — Families demand release of their loved ones arrested in weekend raids. Ambiance Warehouse, 2415 E. 15th St., Los Angeles.

11 a.m. — L.A. student walkout and protest against National Guard deployment. After walking out of school, high school students will convene at the Federal Building downtown at 1 p.m.

Noon — National civil rights leaders to rally with hundreds to demand an end to the immigration raids. They will be joined by workers, elected officials and supporters to demand the release of David
Huerta from federal detention and the end of ICE raids in the community, according to organizers.




20h ago / 9:08 AM PDT

42 Mexicans detained in L.A. raids, Mexican officials say
                Nicole Duarte and Marlene Lenthang

Forty-two Mexicans were detained in the ICE raids in Los Angeles, Mexico's foreign minister, Juan Ramón de la Fuente, said at a news conference today.

Of those, 37 are men and five are women, and all were identified and assisted by consular authorities.

Four people have been deported, two by previous removal orders and two voluntarily.




21h ago / 7:50 AM PDT

What can Trump legally do to disperse L.A. immigration protests?
President Donald Trump ordered the deployment of 2,000 National Guard troops to Los Angeles to disperse immigration protests and California Gov. Gavin Newsom has questioned the legality of this
move. NBC News legal analyst Danny Cevallos breaks down what Trump’s legal options are for using federal troops.




21h ago / 7:45 AM PDT

Border czar Tom Homan: Newsom and Bass 'haven't crossed the line, but they’re not above the law either'
                Megan Lebowitz and Sarah Dean

President Donald Trump's "border czar" Tom Homan responded to California Gov. Gavin Newsom telling Homan to “arrest me” after the border czar threatened to arrest anyone obstructing
immigration enforcement.

“I was clear, they haven’t crossed the line, but they’re not above the law either,” Homan said in an interview on MSNBC’s “Morning Joe,” referring to Newsom and L.A. Mayor Karen Bass. “If they
commit a crime, then certainly we’d ask for prosecution. That’s what was happening. I never threatened to arrest Governor Newsom, so I’m not biting off of that.”

Separately, when asked whether everyone arrested by ICE has a criminal record, Homan said, “Absolutely not.”

“If ICE is there to arrest that bad guy and other aliens are there, we’re going to arrest them,” Homan said. “That’s what sanctuary cities get.”
                            Case 3:25-cv-04870-CRB                                Document 8-1                       Filed 06/10/25                    Page 99 of 129
Homan also criticized rhetoric about the protesters, pointing to incidents of violence.

“It’s a matter of time before someone loses their life,” he said. He added that throwing a Molotov cocktail at an officer “can certainly be met with deadly force.”



22h ago / 6:29 AM PDT

Newsom slams use of National Guard on ICE protesters in L.A.
         Liz Kreutz

California Gov. Gavin Newsom is criticizing President Donald Trump’s use of the National Guard to crack down on demonstrators in Los Angeles who are protesting immigration raids by federal
agents, saying it only inflames the situation. Meanwhile, border czar Tom Homan said officials who stand in the way of law enforcement operations could be arrested.




23h ago / 6:02 AM PDT

Australian TV news reporter struck by rubber bullet while broadcasting
         Astha Rajvanshi

Lauren Tomasi, a news correspondent with Australia’s Channel Nine, was broadcasting live from the protests on Sunday evening when she was struck in the leg by what appeared to be a nonlethal
rubber bullet fired by law enforcement.

In the video, a police officer was seen turning toward Tomasi and her crew before firing a round in their direction. Tomasi appeared to yell in pain as she stumbled to reach for her injured leg while
the camera swiveled in the other direction.

Tomasi later told Nine News Australia that she was “safe,” adding that it had been “a really volatile day on the streets of L.A.”

LAPD did not respond to a request for comment.




23h ago / 6:01 AM PDT

Chicago congressman to speak out against Trump's deployment of National Guard troops
         Astha Rajvanshi

Rep. Jesús “Chuy” Garcia, a Democrat from Chicago, will join immigrant rights leaders in the city later today to speak out against Trump’s move to deploy hundreds of National Guard troops in Los
Angeles, as widespread protests persist for a fourth day.

A press release for the news conference, scheduled for 10 a.m. ET, stated that “the deportations, forced disappearances, travel ban 2.0, attacks on welcoming jurisdictions, and the jailing of labor
leaders, highlight the cruelty with which Trump and his administration are focused on harming communities and families.”

In Chicago, protestors on Sunday held a rally in Pilsen to oppose the detention of at least 10 immigrants by ICE agents last week near a warehouse in the South Loop. Those arrested had “executable
final orders of removal by an immigration judge, and had not complied with that order,” ICE said in a statement.




1d ago / 5:05 AM PDT

Rallies and protests planned for today
         Marlene Lenthang

The ACLU will lead a peaceful rally and protest in downtown Los Angeles today at noon PT to demand the end of ICE raids, as anger toward government immigration politics simmers.

The rally, in solidarity with the Service Employees International Union California (SEIU), will call for the immediate release of the labor union’s president, David Huerta, who was injured and detained
while documenting an ICE raid Friday.

                                                                                                  SHOW MORE



1d ago / 4:35 AM PDT

Miami-Dade Commission to vote on a proposal calling for police-ICE collaboration
         Astha Rajvanshi

The Miami-Dade Commission is set to vote on a proposal Monday 9 a.m. ET that could block the county from releasing public records about the people detained within its jails.

The commission will hold a hearing at the Stephen P. Clark Government Center, where the proposal, if passed, would effectively disappear those detained into the system without public accountability
for their whereabouts.

In exchange, the proposed contract will pay the county $25 per day for every person detained.

The proposal is part of an agreement with Immigration and Customs Enforcement under its 287(g) program to cooperate in apprehending and detaining those believed to be in the country illegally.

Each of Florida’s 67 county jails has signed the agreement, with 590,000 of the country's nearly 11 million undocumented immigrants living in Florida, according to the latest Homeland Security
Department estimates.

On Friday, Miami-Dade Commissioner Roberto Gonzalez said he would back the proposal in a post on X, adding that “Miami-Dade is not and will not be a sanctuary county.”




1d ago / 4:19 AM PDT
                           Case 3:25-cv-04870-CRB                             Document 8-1                      Filed 06/10/25                   Page 100 of 129
The Trump admin says it ordered the deployment of 2,000 National Guard troops in L.A. to stop 'violent protests'
         Astha Rajvanshi

Around 300 National Guard members are stationed in downtown Los Angeles after President Donald Trump ordered the deployment of 2,000 troops for 60 days — a move condemned by California
Gov. Gavin Newsom, who called it inflammatory. About 500 Marines are ready to deploy to respond to the protests.

In its memo, the White House said it was circumventing a law that typically requires a governor to request such a deployment because “violent protests threaten the security of and significant damage
to Federal immigration detention facilities and other Federal property.”

                                                                                                SHOW MORE



1d ago / 3:40 AM PDT

What sparked the L.A. protests?
         Astha Rajvanshi

Widespread protests in Los Angeles County erupted after Immigration Customs Enforcement (ICE) officers on Friday carried out raids in three locations across the city, where dozens of people were
taken into custody.

California Gov. Gavin Newsom condemned the raids, calling them “chaotic federal sweeps” that aimed to fill an “arbitrary arrest quota.”

But as L.A.’s sizable pro-immigrant organizations and labor groups continued to demonstrate Saturday, L.A. County Sheriff Robert Luna said federal law enforcement operations were “proceeding as
planned” across the county.

Law enforcement used less-than-lethal munitions, as well as what appeared to be tear gas, to disperse crowds while multiple people were detained throughout the day.

The unrest also prompted President Donald Trump to deploy 2,000 National Guard troops to L.A. — a move that was condemned by Newsom and Mayor Karen Bass, who said at a news conference
that the raids didn’t increase peace and decrease crime but that they did push a wave of fear through a county where 1 in 3 are foreign-born.

“What we’re seeing in Los Angeles is chaos that is provoked by the administration,” Bass said, referring to Trump.

The protests continued for a third day on Sunday, with 56 people arrested so far, according to the police.




1d ago / 3:09 AM PDT

British photographer says he was shot by police while covering L.A. protests
         Astha Rajvanshi
                           Case 3:25-cv-04870-CRB                               Document 8-1                     Filed 06/10/25                     Page 101 of 129




        Protesters help photographer Nick Stern on Saturday. Ethan Swope / AP




British photographer Nick Stern said he was hit with a 14mm high-velocity "sponge bullet" in his thigh while he was covering a stand-off between protestors and law enforcement in Los Angeles on
Saturday evening.

The 60-year-old photographer told The Times of London he was “making a point of making myself visible as media” with a press ID around his neck while he was holding a large video camera.

                                                                                                SHOW MORE



1d ago / 2:40 AM PDT

Los Angeles Mayor Bass calls on protesters to demonstrate ‘peacefully’
         NBC News

Los Angeles Mayor Karen Bass said that ICE raids have created fear and unrest in the city and called on protesters to express their anger “peacefully.”




1d ago / 2:21 AM PDT

Chinese Consulate in L.A. urges Chinese citizens in the area to stay vigilant
         Astha Rajvanshi

The Chinese Consulate General in Los Angeles urged Chinese citizens in the region to follow safety protocol as law enforcement operations continue in the area in an official statement issued Monday.

Chinese citizens “stay vigilant, enhance personal safety precautions, avoid gatherings, crowded areas, or places with poor public security, and refrain from going out alone or at night,” it added.




1d ago / 2:09 AM PDT

Almost 60 arrested in L.A. so far, police say
         Astha Rajvanshi

At least 56 people were arrested in Los Angeles over the weekend, police said.

Capt. Raul Jovel from the LAPD’s Central Division said that the California Highway Patrol had made 17 arrests while patrolling the 101 Freeway.
                           Case 3:25-cv-04870-CRB                                    Document 8-1               Filed 06/10/25                    Page 102 of 129
Those arrested include a person who allegedly threw a Molotov cocktail at an officer and another who was accused of ramming a motorcycle into a line of officers, injuring one.




        Waymo cars burn during protests in Los Angeles on Sunday. Mario Tama / Getty Images




Another driver was arrested after protesters chased a van near Union Station in downtown Los Angeles Sunday because, they said, it aimed at them. The van appeared to veer toward protesters
gathered near the Edward R. Roybal Federal Building multiple times as it drove in circles, with what sounded like gunfire being heard from the van.



1d ago / 1:57 AM PDT

"BRING IN THE TROOPS!!!” says Trump
         Astha Rajvanshi

President Donald Trump on Sunday continued his harsh rhetoric against protestors in LA in a series of posts on Truth Social. Referring to reports from Los Angeles Police Chief Jim McDonnell that
protestors in LA were “getting very much more aggressive,” Trump once again called on troops from the National Guard to be deployed in the area.

“Looking really bad in L.A. BRING IN THE TROOPS!!!" he said in a post on Truth Social, adding, "ARREST THE PEOPLE IN FACE MASKS, NOW!" in a separate post.

About 300 National Guardsmen have been deployed on the ground in LA after being called to protect federal personnel and property for the first time by an American president.




1d ago / 1:40 AM PDT

Clashes continue through the night in Los Angeles
         Max Butterworth

Protesters wave Mexican flags last night following two days of clashes with law enforcement, sparked by a series of immigration raids in Los Angeles.
              Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 103 of 129




Ringo Chiu / AFP - Getty Images
                           Case 3:25-cv-04870-CRB                              Document 8-1                      Filed 06/10/25                     Page 104 of 129




           Spencer Platt / Getty Images




1d ago / 1:26 AM PDT

Downtown L.A. declared an “unlawful assembly” area by the LAPD
         Astha Rajvanshi

The LAPD has declared the Civic Center area in downtown Los Angeles an “unlawful assembly,” according to a post on X, adding that it had sent an alert to all cell phones in the area.




1d ago / 1:26 AM PDT

Stores in downtown L.A. are being looted, LAPD says
         Astha Rajvanshi

Local business owners reported that stores in the area of 6th Street and Broadway were being looted, Los Angeles police said in a post on X, adding that its officers were en route to the location to
investigate.

In a separate post on X, the LAPD’s Central Division requested all DTLA businesses or residents to photograph all vandalism, damage or looting so that “it can be documented by an official police
report.”




1d ago / 1:06 AM PDT

Trump’s travel ban takes effect amid immigration tensions
         Jennifer Jett

Trump’s new ban on travel to the U.S. by nationals from 12 mostly African and Middle Eastern countries took effect at 12:01 a.m. ET as protesters in Los Angeles clashed with law enforcement over
immigration enforcement raids.

A proclamation Trump signed last week bars entry to nationals of Afghanistan, Myanmar, Chad, the Republic of Congo, Equatorial Guinea, Eritrea, Haiti, Iran, Libya, Somalia, Sudan and Yemen. Seven
other countries — Burundi, Cuba, Laos, Sierra Leone, Togo, Turkmenistan and Venezuela — face heightened restrictions.

Trump said that nationals from the affected countries might pose risks related to terrorism and public safety and that many of the countries had high rates of people overstaying their visas.
                               Case 3:25-cv-04870-CRB                          Document 8-1                    Filed 06/10/25                  Page 105 of 129
The ban has been strongly condemned as discriminatory by groups that provide aid and resettlement to refugees, who say it will prevent many people from reuniting with family and jeopardize the
safety of those fleeing conflict and persecution in countries such as Afghanistan.



1d ago / 1:06 AM PDT

‘Tom, arrest me. Let’s go.’: Gov. Gavin Newsom responds to Newsom from Trump 'border czar'
         Jacob Soboroff
  Reporting from LOS ANGELES
In an exclusive interview, Newsom said Trump “has created the conditions” surrounding the Los Angeles protests.

Newsom went on to call Trump’s decision to deploy the National Guard “a manufactured crisis,” then addressed White House "border czar" Tom Homan’s threats of arrest.

“Tom, arrest me. Let’s go,” he said. The governor also plans to sue the Trump administration over its deployment of the National Guard.




1d ago / 1:06 AM PDT

Waymo cars go up in flames during Los Angeles anti-ICE protests
         NBC News

At least five Waymo cars went up in flames as crowds protested after federal immigration raids. The driverless rides have been suspended in downtown Los Angeles.




          NBC News


             Phil Helsel, Dennis Romero and Marlene Lenthang contributed.
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 106 of 129




                            EXHIBIT O
Case 3:25-cv-04870-CRB             Document 8-1         Filed 06/10/25       Page 107 of 129



                                SECRETARY OF DEFENSE
                                 1000 DEFENSE PENTAGON
                               WASHINGTON , DC 20301 - 1000


                                                                                 JUN O7 2025
MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

        The President ofthe United States has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to temporarily
protect U.S. Immigration and Customs Enforcement and other U.S. Government personnel
who arc performing Federal functions. including the enforcement of Federal law. and to protect
Federal property. at locations where protests against these functions are occurring or are likdy
to occur based on current threat assessments and planned operations. The President signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

        This memorandum implements the President's direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of 60 days. The Chief of the National Guard Bureau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard. in
coordination with the Chairman of the Joint Chiefs of Staff and Commander. U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander. U.S. Northern Command.




Attachment:
As stated



cc:
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 108 of 129




                             June 7, 2025




MEMORANDUM FOR THE SECRETARY OF DEFENSE
               THE ATTORNEY GENERAL
               THE SECRETARY OF HOMELAND SECURITY

SUBJECT:        Department of Defense Security for the Protection
                of Department of Homeland Security Functions


  Numerous incidents of violence and disorder have recently
  occurred and threaten to continue in response to the enforcement
  of Federal law by U.S. Immigration and Customs Enforcement (ICE)
. and other United States Government personnel who are performing
  Federal functions and supporting the faithful execution of
  Federal immigration laws.  In addition, violent protests
  threaten the security of and significant damage to Federal
  immigration detention facilities and other Federal property.   To
  the extent that protests or acts of violence directly inhibit
  the execution of the laws, they constitute a form of rebellion
  against the authority of the Government of the United States.

In light of these incidents and credible threats of continued
violence, by the authority vested in me as President by the
Constitution and the laws of the United States of America, I
hereby call into Federal service members and units of the
National Guard under 10 U.S.C. 12406 to temporarily protect ICE
and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against
these functions are occurring or are likely to occur based on
current threat assessments and planned operations. Further, I
direct and delegate actions as necessary for the Secretary of
Defense to coordinate with the Governors of the States and the
National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard
under this authority. The members and units of the National
Guard called into Federal service shall be at least 2,000
National Guard personnel and the duration of duty shall be for
60 days or at the discretion of the Secretary of Defense.   In
addition, the Secretary of Defense may employ any other members
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 109 of 129




                                  2

of the regular Armed Forces as necessary to augment and support
the protection of Federal functions and property in any number
determined appropriate in his discretion.

To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.



                                DONALD J. TRUMP
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 110 of 129




                            EXHIBIT P
   Case 3:25-cv-04870-CRB           Document 8-1       Filed 06/10/25      Page 111 of 129

                                SECRETARY OF DEFENSE
                                1000 DEFENSE PENTAGON
                               WASH INGTON , DC 20301 -1 000


                                                                                    JUN - 9 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                 THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Additional Members of the California National Guard into Federal Service

        On June 7, 2025, the President of the United States called forth at least 2,000 National
Guard personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to
temporarily protect U.S. Immigration and Customs Enforcement and other U.S. Government
personnel who are performing Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against these functions are occurring or
are likely to occur based on current threat assessments and planned operations. The President
signed a copy of the attached memorandum to effectuate the calling forth of these Service
members. Also on June 7, 2025, I implemented that order by directing 2,000 members of the
California National Guard be called into Federal Service for a period of 60 days (see attached
memorandum).

       This memorandum further implements the President's direction. An additional 2,000
members of the California National Guard will be called into Federal service effective
immediately for a period of 60 days. The Chief of the National Guard Bureau will immediately
coordinate the details of the mobilization with the Adjutant General of the California National
Guard, in coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S.
Northern Command. The mobilized Service members will be under the command and control of
the Commander, U.S. Northern Command.




Attachments:
As stated

cc:
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy
Under Secretary of Defense for Personnel and Readiness
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 112 of 129




                             June 7, 2025




MEMORANDUM FOR THE SECRETARY OF DEFENSE
               THE ATTORNEY GENERAL
               THE SECRETARY OF HOMELAND SECURITY

SUBJECT:        Department of Defense Security for the Protection
                of Department of Homeland Security Functions


  Numerous incidents of violence and disorder have recently
  occurred and threaten to continue in response to the enforcement
  of Federal law by U.S. Immigration and Customs Enforcement (ICE)
. and other United States Government personnel who are performing
  Federal functions and supporting the faithful execution of
  Federal immigration laws.  In addition, violent protests
  threaten the security of and significant damage to Federal
  immigration detention facilities and other Federal property. To
  the extent that protests or acts of violence directly inhibit
  the execution of the laws, they constitute a form of rebellion
 against the authority of the Government of the United States.

In light of these incidents and credible threats of continued
violence, by the authority vested in me as President by the
Constitution and the laws of the United States of America, I
hereby call into Federal service members and units of the
National Guard under 10 U.S.C. 12406 to temporarily protect ICE
and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against
these functions are occurring or are likely to occur based on
current threat assessments and planned operations. Further, I
direct and delegate actions as necessary for the Secretary of
Defense to coordinate with the Governors of the States and the
National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard
under this authority.  The members and units of the National
Guard called into Federal service shall be at least 2,000
National Guard personnel and the duration of duty shall be for
60 days or at the discretion of the Secretary of Defense.   In
addition, the Secretary of Defense may employ any other members
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 113 of 129




                                  2

of the regular Armed Forces as necessary to augment and support
the protection of Federal functions and property in any number
determined appropriate in his discretion.

To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.



                                DONALD J. TRUMP
Case 3:25-cv-04870-CRB             Document 8-1         Filed 06/10/25       Page 114 of 129



                                SECRETARY OF DEFENSE
                                 1000 DEFENSE PENTAGON
                               WASHINGTON , DC 20301-1000


                                                                                 JUN O7 2025
MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
                THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

        The President of the United States has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 12406 oftitle 10, U.S. Code, to temporarily
protect U.S. Immigration and Customs Enforcement and other U.S. Government personnel
who arc performing Federal functions, including the enforcement of Federal law, and to protect
Federal property, at locations where protests against these functions are occurring or are likdy
to occur based on current threat assessments and planned operations. The President signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

        This memorandum implements the President's direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of 60 days. The Chief of the National Guard Bureau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard, in
coordination with the Chairman of the Joint Chiefs of Staff and Commander. U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander. U.S. Northern Command.




Attachment:
As stated



cc:
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northern Command
Under Secretary of Defense for Policy
Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 115 of 129




                            EXHIBIT R
                      Case 3:25-cv-04870-CRB                                        Document 8-1   Filed 06/10/25       Page 116 of 129




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 LOCAL NEWS


Los Angeles immigration enforcement operations set to continue after weekend of protests, National Guard
deployment

          By Austin Turner, Dean Fioresi, Camilo Montoya-Galvez
          Updated on: June 9, 2025 / 11:38 PM PDT / KCAL News




National Guard troops arrived in downtown Los Angeles on Sunday after being ordered into the city by President Trump in response to a weekend of violent clashes
between law enforcement officers and protesters triggered by immigration enforcement operations in the area on Friday.

Protesters clashed with soldiers throughout the afternoon and evening hours of Sunday after a crowd gathered near the Metropolitan Detention Center downtown.
Images captured by CBS News Los Angeles showed members of the National Guard using what appeared to be tear gas and firing non-lethal rounds toward some groups
of demonstrators.

Large-scaleBeprotests   have to
                 the first    sprouted
                                  knowthroughout L.A. County including in the Westlake District, downtown L.A. and Paramount, and have escalated to violence on
several occasions, following a large-scale operation by Immigration and Customs Enforcement on Friday. A federal law enforcement official told CBS News that multiple
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federal lawlive
            enforcement      officersreporting.
                events, and exclusive  were injured during confrontations with protesters on Friday and Saturday.

During a Sunday evening news conference, LAPD Chief Jim McDonnell said 39 people had been arrested in total — 29 on Saturday and 10 on Sunday. McDonnell also
addressed accusations that the police department was slow to respond to the unrest.
                    Case 3:25-cv-04870-CRB                       Document 8-1                Filed 06/10/25               Page 117 of 129
"We can't
Watch       participate in any way in civil immigration enforcement," McDonnell said, noting that the department must comply with the California Values Act, also known
      CBS News
as SB 54, which prohibits local and state law enforcement agencies from assisting federal immigration enforcement actions.




                                                                                                                                                                   See More


    00:00                                                                                                                                                  02:00




"Federal partners have been reticent to provide information to us before something happens because of that reason," McDonnell said.

The Trump administration has made it clear that immigration enforcement will continue despite the ensuing violence. Democratic U.S. Rep. Nanette Barragán, who
represents parts of L.A.'s South Bay, told CBS News that ICE enforcement and removal operations are expected daily for the next 30 days in L.A. County.

Mr. Trump announced Saturday night that he'd deploy the guard in response to the protests. In a post to his Truth Social late Saturday night local time, Mr. Trump
called the events in L.A. "two days of violence, clashes and unrest."

He posted again on Sunday, saying that California Gov. Gavin Newsom and L.A. Mayor Karen Bass should "apologize to the people of Los Angeles for the absolutely
horrible job that they have done, and this now includes the ongoing L.A. riots."




"These are not protesters, they are troublemakers and insurrectionists," the post said. "Remember, NO MASKS!"




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                                   Case 3:25-cv-04870-CRB                                Document 8-1                           Filed 06/10/25   Page 118 of 129
Watch CBS News




Members of the National Guard stand guard outside the Metropolitan Detention Center in downtown Los Angeles, California on June 8, 2025.
F R E D E R I C J. B R OW N / A F P V I A G E T T Y I M AG E S



A Presidential Memoranda issued Saturday stated that at least 2,000 National Guard troops were going to be deployed. The majority of the soldiers are from the
California National Guard, a Defense Department official told CBS News.

The U.S. military's Northern Command also confirmed to CBS News that 300 National Guard troops were in the Los Angeles area on Sunday, specifically in Paramount,
Compton and the downtown area. They also said that 500 active-duty U.S. Marines based at Twentynine Palms were in "prepared to deploy" status and were ready to
augment the National Guard if ordered to do so.

Newsom on Saturday criticized Mr. Trump's military deployment, calling it "purposefully inflammatory" in a post to X. In another post he said Mr. Trump was
"escalating the situation."

"The federal government is taking over the California National Guard and deploying 2,000 soldiers in Los Angeles — not because there is a shortage of law enforcement,
but because they want a spectacle," he said in another post. "Don't give them one."

He formally requested that Mr. Trump rescind the deployment of troops to L.A. in a letter addressed to Defense Secretary Pete Hegseth, saying there was "no need" for
the National Guard.

"State and local authorities are the most appropriate ones to evaluate the need for resources to safeguard life and property," Newsom's letter said. "Indeed, the decision
to deploy the National Guard, without appropriate training or orders, risks seriously escalating the situation."




On Sunday afternoon, Newsom's office confirmed that he was in Los Angeles. He met with Los Angeles Police Chief Jim McDonell and L.A. County Sheriff Robert Luna,
shown in a picture posted to his X account.

"We're here to keep the peace — not play into Trump's political games," the post said.

On Monday morning, Newsom confirmed plans to sue the Trump administration and accused the president of illegally activating the National Guard.


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Watch CBS News




A protester carries a Mexican flag as L.A. County Sheriff deputies form a law enforcement line to keep demonstrators from advancing after ICE raids at a nearby Home Depot and the Garment District brought out resistance from Los Angeles
residents on June 7, 2025 in Compton, California.
G I N A F E R A Z Z I / LO S A N G E L E S T I M E S V I A G E T T Y I M AG E S



Bass called the deployment of the National Guard a "chaotic escalation" of the situation in a post to X.

"The fear people are feeling in our city right now is very real – it's felt in our communities and within our families and it puts our neighborhoods at risk," she said in
part. "This is the last thing that our city needs, and I urge protestors to remain peaceful."

Former Vice President Kamala Harris took to X to share a statement on Sunday afternoon.

"Los Angeles is my home. And like so many Americans, I am appalled at what we are witnessing on the streets of our city. Deploying the National Guard is a dangerous
escalation meant to provoke chaos," her statement said.




Standing outside of the Metropolitan Detention Center before violent clashes began on Sunday, Rep. Maxine Waters, who represents parts of South L.A., called Mr.
Trump's deployment of the National Guard a "disruption."

"People have to stand up for what is right," she said.

In a statement to CBS News, an ICE spokesperson said immigration enforcement operations have resulted in the arrest of a "domestic abuser" and a "child rapist."

"Irresponsible politicians continue to push dangerous and misleading rhetoric that puts communities and law enforcement at risk," the statement reads. "Even the Los
Angeles Police Departments referred to violent riots yesterday as 'peaceful protests.' Americans can look at the videos and images and see with their own eyes that they
are dangerous not 'peaceful.'"

Protesters clash with law enforcement again
For the third straight day, some protesters and activists gathered in downtown L.A. to protest the ongoing operations and presence of federal authorities in the city.

The situation appeared calm to start on Sunday, with CBS News Los Angeles reporters at the scene reporting no signs of conflict until about 3 p.m., when a large group
of demonstrators marched from the steps of L.A. City Hall to the federal building, where the detention center is located.



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Watch CBS News




A massive crowd of protesters in downtown Los Angeles on June 8, 2025, as demonstrations against immigration operations continued for third straight day.
KC A L N E W S



They began to clash with the large group of federal agents located outside of the building, including some who looked to be members of the National Guard. In
response to the escalation, which police said involved people throwing projectiles and concrete in their direction, the LAPD issued a Tactical Alert for the entire city.




"An UNLAWFUL ASSEMBLY has been declared for the area of Alameda between 2nd St and Aliso St. A DISPERSAL ORDER has been issued. Arrests are being made. To
our media partners, please keep a safe distance from active operations," said a post on X by LAPD's Central Division.

Two officers were injured when two motorcyclists tried to breach the LAPD skirmish line in front of the detention center, police said. Both of those people were
detained.

Several blocks away, CBS News Los Angeles reporters saw a smaller crowd of people vandalizing as many as six Waymo driverless vehicles in the area. They were seen
spray painting the cars, throwing objects and jumping on the windshields.

A short time later, all six of those vehicles were set on fire as the large crowd looked on. Plumes of smoke billowed over the downtown landscape.




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Watch CBS News




A Waymo vehicle on fire in the midst of protests in downtown Los Angeles.
KC A L N E W S



The flames from the vehicles continued to burn for some time and there were several small explosions seen in footage filmed from CBS News Los Angeles' helicopter.

While the demonstrations continued, some people used chairs, garbage bins and street signs to block the road at Temple and Main Street. A few blocks away a Metro
bus was stopped by demonstrators. Some were seen spray painting the sides with anti-ICE messages from helicopter footage.

The crowd moved into the city's Civic Center at around 5 p.m. Some demonstrators were seen setting fireworks from the CBS News Los Angeles helicopter as LAPD
officers on horseback attempted to push the crowd back.




A little before 9 p.m., LAPD's Central Division said on X that "Downtown Los Angeles has been declared as an UNLAWFUL ASSEMBLY. You are to leave the Downtown
Area immediately."

The crowd of demonstrators began to move into the LA Live area, near Crypto.com Arena, at 9:30 p.m., LAPD officers said. They were blocking traffic on Figueroa
Street and 11th Street.

They moved through the city despite the area-wide dispersal order, again lighting fireworks and throwing projectiles at police vehicles driving by. Several fires were set
in dumpsters and trash bins and at least one store had windows shattered by alleged looters. Dozens of buildings were tagged with graffiti, including the LAPD
Headquarters, the U.S. Courthouse and the old Los Angeles Times building.

Footage from the CBS News Los Angeles helicopter showed that multiple windows of the police headquarters had been shattered as well.

As the events continued, both LAPD and LASD personnel could be seen working to quell the situation. Sheriff Luna said that more than 100 deputies were deployed to
assist both LAPD and CHP at around 6 p.m., and that mutual assistance was also requested from the California Office of Emergency Services.

Separately, San Francisco police reported 60 arrests Sunday night. Police said people were taking part in "First Amendment activities" but then began committing
crimes "ranging from assault to felony vandalism and causing property damage." An unlawful assembly was declared but several people kept "engaging in illegal
activity," police said. Two officers were hurt, though the injuries weren't life threatening. Police said the demonstrators then vandalized buildings, a police cruiser and
other property, and officers began arresting people who didn't comply with the dispersal order.




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                         Case 3:25-cv-04870-CRB                                             Document 8-1       Filed 06/10/25   Page 122 of 129
Watch CBS News




Demonstrators flood the 101 Freeway as immigration operation protests continue for third day in Los Angeles.
KC A L N E W S



Crowd swarms L.A.'s 101 Freeway
Just before 4 p.m., demonstrators moved onto the 101 Freeway, blocking traffic on the busy thoroughfare. They blocked the Aliso Street offramp and several lanes while
hundreds of others watched from the Main Street overpass.




In response, the California Highway Patrol closed the entire stretch of freeway that runs through the downtown area. Dozens of CHP officers were seen as they also
entered the freeway, stopping under the overpass in a line. They completely overtook southbound lanes, moving protesters back, though the majority of the crowd
remained on the other side of the freeway.

Several people were seen being taken into custody from the CBS helicopter's aerial view. Officers deployed multiple smoke-filled canisters at the feet of the crowd.
Some people attempted to kick the canisters back in the direction of law enforcement.

The crowd was completely moved from the road by 5 p.m.

With multiple CHP patrol vehicles still parked on the freeway, people began to throw objects over the side of the overpass. They were seen throwing street signs,
fireworks, e-scooters and pieces of concrete with the CBS News Los Angeles helicopter overhead.

Some of the cars sustained visible damage before officers began deploying non-lethal canisters of smoke towards the crowd. Though they briefly dispersed, they
returned to the area and continued to throw items, one of which caught a CHP vehicle on fire.

As some officers tried to get into their vehicles, some of the people were seen throwing cement in their direction.

Because of the debris and damaged cars now in the road, the southbound 101 Freeway was expected to remain closed until further notice, LAPD said. It's unclear when
the cleanup process would begin.




In nearby Pasadena, a small gathering began Sunday afternoon after federal officers were spotted at a local hotel, a city spokesperson confirmed.

Pasadena Mayor Victor M. Gordo said in a statement that no enforcement activity was confirmed.

"We understand the anxiety and fear that these reports can create for many in our community," he said. "I urge our community to remain calm, united, and peaceful,
and not be baited or provoked into violence. The right to peacefully assemble and express ourselves is a fundamental part of who we are—not just as Pasadenans, but as
Americans."
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On Friday evening, multiple immigration operations were conducted across L.A., primarily in the Westlake District, downtown and South L.A., ICE officials confirmed.
A single operation at a job site Friday resulted in the arrest of 44 unauthorized immigrants, ICE told CBS News on Sunday. An additional 77 were arrested around the
same time frame in the greater L.A. area.
                            Case 3:25-cv-04870-CRB                                            Document 8-1                             Filed 06/10/25   Page 123 of 129
The
Watch exact charges of those arrests were not yet clear as of Sunday afternoon.
      CBS News


ICE confirmed to CBS News Los Angeles that four federal search warrants were served at three locations in L.A. on Friday night. As news of those warrants spread,
protests broke out. The most notable of which was Friday night, and took place outside the Federal Building in downtown L.A. after demonstrators learned that
detainees were allegedly being held inside.

As tensions escalated and some protesters threw objects toward law enforcement, the Los Angeles Police Department eventually issued an unlawful assembly
declaration and a dispersal order. Dozens of officers sporting riot gear and shields formed a skirmish line.




A federal law enforcement official with knowledge of the operations told CBS News that ICE requested assistance from LAPD multiple times over the course of Friday
night. That same official said it took local authorities more than two hours to honor that request, although a senior city official in L.A. told CBS News that it took LAPD
55 minutes to respond, not two hours.




A car burns during a protest in Compton, Calif., Saturday, June 7, 2025, after federal immigration authorities conducted operations.
E R I C T H AY E R / A P



On Saturday, protests centered in on the city of Paramount after ICE and other federal law enforcement officers were spotted. Tricia McLaughlin, a spokesperson for
the Department of Homeland Security, said in a statement that there was no ICE "raid" on Saturday in Paramount, but instead the agents were staging at an office.

The protests in Paramount eventually spilled over into Compton, where hundreds of demonstrators gathered around a car that was set on fire in the middle of the
intersection of Alondra Boulevard and Atlantic Avenue, near Dale's Donuts.

Images captured at the scene by CBS News Los Angeles showed law enforcement deploying what appeared to be tear gas to disperse crowds and shooting non-lethal
munitions at some protesters.

A federal law enforcement official told CBS News that deputies with LA County Sheriff's Office are now assisting ICE officials with perimeter protection, although they
will not be assisting with any immigration enforcement efforts.

Alys Martinez, Richard Esposito and Nicole Sganga contributed to this report.

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Austin Turner
Austin Turner is a web producer at CBS Los Angeles. An Inland Empire native, Austin earned a degree in journalism from San Jose State University in 2020. Before joining CBS in
2025, he worked at KTLA, the San Jose Mercury News, the Sedona Red Rock News and various freelance outlets as a sports reporter.
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Case 3:25-cv-04870-CRB   Document 8-1   Filed 06/10/25   Page 127 of 129




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      Case 3:25-cv-04870-CRB      Document 8-1     Filed 06/10/25    Page 128 of 129




                      OFFICE OF THE GOVERNOR

                                     June 10, 2025


Hon. Pete Hegseth
Secretary of Defense
Washington, DC 20301

Via email only

Re:     Federalization of the California National Guard

Dear Secretary Hegseth:

      Yesterday, you issued a memorandum calling an additional 2,000
members of the California National Guard into federal service. This was done
without going “through the governor[]” as is statutorily required under section
12406 of title 10 of the United States Code, and without “coordinat[ion] with the
Governor[] of the State[]” as instructed in the President’s June 7 memorandum.

      Although you notified this office of the action once it was taken, the
Governor of California was given no opportunity to provide or withhold his
consent, nor, at a minimum, to consult with the President or you as to which
service members and in what number should be called, and for what purposes
and what period of time. And to be clear, the Governor does not consent to this
unlawful usurpation of his authority or to this unnecessary and counterproductive
deployment of service members in our communities. Together with the California
Attorney General, the Governor filed a lawsuit to stop these unlawful abuses of
authority.

        The Governor wishes to reiterate that Los Angeles has a robust presence
of State and local law enforcement responding swiftly to the small number of
protestors who are acting violently and breaking the law. These agencies are
regularly entrusted to police and enforce the law in a region of over 9 million
people and are fully capable of responding to these recent sporadic acts of
civil disobedience and violence, which are no different in kind from instances of

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      Case 3:25-cv-04870-CRB   Document 8-1    Filed 06/10/25    Page 129 of 129




civil unrest that impact communities throughout the United States from time to
time.

       This latest usurpation of the Governor’s authority is even more egregious
given that you have not even committed at least 1600 of the 2000 service
members you unlawfully federalized only two days earlier. As has been widely
reported, the federal government’s organizational failure has meant that service
members who were deployed arrived with no federal funding for food, water,
fuel or lodging.

        There is no need for the National Guard to be deployed on the streets of
Los Angeles. Allow state and local authorities to do their work of restoring order
and deescalating, without the added burden of military forces whose mere
presence fans the flames. Rescind your orders and return the National Guard to
its rightful control by the State of California.

        Sincerely,




        David Sapp
        Legal Affairs Secretary
        Office of Governor Gavin Newsom


cc.     California Attorney General Rob Bonta (via email only)




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